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1                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
2                              GAINESVILLE DIVISION

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4
      OELRICH CONSTRUCTION, INC.,   )
5                                   )
        Plaintiff,                  )      Case No: 1:20cv169
6                                   )
                v.                  )      Gainesville, Florida
7                                   )      October 27, 2021
      PRC PRECAST, LLC,             )
8                                   )      9:01 AM
                                    )
9       Defendant/Counter-Plaintiff,)
                                    )      VOLUME III
10              v.                  )
      OELRICH CONSTRUCTION, INC.,   )
11      Counter-Defendant.          )
      _____________________________ )
12
                           TRANSCRIPT OF BENCH TRIAL
13                   BEFORE THE HONORABLE ROBERT L. HINKLE
                         UNITED STATES DISTRICT JUDGE
14                           (Pages 416 through 540)

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1                              P R O C E E D I N G S

2           (Call to Order of the Court at 9:01 AM on Wednesday,

3     October 27, 2021.)

4                 THE COURT:    Good morning.    Please be seated.

5                 Closing for the plaintiff.

6                 Mr. Butts?

7                 MR. BUTTS:    May it please the Court.

8                 PRC failed to produce or deliver panels that Oelrich

9     Construction paid for.

10                PRC made false assurances that they would do it.          They

11    gave no assurance that they would ever do it.          And they

12    misrepresented the status of the completed product throughout

13    the summer and fall of 2019.       This resulted in delay to Oelrich

14    Construction.

15                Caused Oelrich Construction to hire Spring Precast to

16    come in and perform the work that they had contracted with PRC

17    to do.   And it cost Oelrich Construction to have paid for

18    undelivered and uninstalled product to PRC.

19                PRC billed for 70 panels --

20                THE COURT:    You are welcome to remove your mask as you

21    are talking.

22                MR. BUTTS:    Excuse me, Your Honor.     Thank you for

23    reminding me.

24                PRC paid for 70 panels through October -- through the

25    October pay app.     Through that time, they had only provided
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1     photographs of 14 panels.

2                 PRC said they were put out by having to start late on

3     this job, but they had agreed to a -- to follow a dynamic

4     schedule.    And they had also agreed to waive delay damages

5     pursuant to the contract.      And PRC ceased to hide behind Note A

6     of the contract and to disregard the contract provisions that

7     they don't want to comply with.       For example, they do not want

8     to give us documents of production and they didn't give us

9     documents of production.

10                They did not -- speaking of photographs, Your Honor --

11    didn't give us timely bond waivers.        They didn't cooperate and

12    communicate.    They didn't -- they had a duty to bill only for

13    material that they produced.       They didn't adhere to the safety

14    requirements, specifically the documentation that Oelrich

15    Construction repeatedly asked them to provide.          They were never

16    given a lift plan.     They were never given an OSHA 30 compliance

17    certificate.    They were very late in December giving the

18    activity hazard analysis.      Most importantly, they had a duty to

19    follow the federal law.      This put Oelrich Construction in an

20    untenable position.

21                PRC had given no photographs to prove that PRC's pay

22    request, specifically number 10, and really number 9 or 8 or 7,

23    were not false.     But when they billed for a hundred percent,

24    given the history, Chris Crehore was understandably skeptical.

25                They billed the middle of the month, 15th or 16th, for
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1     a hundred percent of the panels.

2                 Oelrich Construction, according to PRC's

3     interpretation of Note A, would be they had 10 days to dispute

4     the pay request, but PRC would have the opportunity to continue

5     to produce and ask for payment for materials that were produced

6     through the end of the month.       It's an unreasonable

7     interpretation of Note A.

8                 On the other hand, Oelrich Construction, using PRC's

9     interpretation of Note A, Oelrich Construction can't make a

10    false claim when they make their pay requests.          So they have to

11    know -- they have to have some level of assurance that PRC has

12    actually made the panels that they are asking to be paid for.

13                Using PRC's interpretation, if it's enforced, per that

14    interpretation, it has to be void as to public policy because it

15    enables PRC, or a subcontractor in their position, to violate

16    the federal law.     There is no -- PRC's interpretation is --

17                THE COURT:    Well, now slow down just a minute.

18                If I'm not mistaken, this is the very first time --

19    closing argument -- the very first time I've heard an argument

20    that part of this contract is void as against public policy.               Is

21    that true or not true?

22                MR. BUTTS:    It's true.

23                THE COURT:    Well, that argument won't fly because this

24    is way too late to be making an argument taking a position for

25    the first time.
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1                 MR. BUTTS:    Well, Your Honor, in all due respect, I am

2     speaking in regard to the Court's comment yesterday that Note A

3     wipes out the entire payment provision of the contract.              And I

4     am just trying to reconcile that with -- and express that if

5     that is PRC's position it can't be.        It can't --

6                 THE COURT:    Well, let's deal with that in two parts.

7                 First, I don't think I said Note A wipes out

8     everything.    It certainly wipes out everything on the same

9     subject, and I have a considerably different view of what the

10    same subject means than what you have been suggesting.

11                Second, there is nothing void against public policy in

12    a sub, PRC saying:     You've got to pay us without regard to when

13    you're entitled to be paid by the VA, or the joint venture.

14                They could enter a subcontract and say:        You've got to

15    pay us the full amount of the contract, full amount of our

16    subcontract, right now.      That wouldn't affect when you could

17    properly bill for your work back to the joint venture, or to the

18    VA.   So your assertion that somehow it's against public policy

19    for them to have a different payment term than what you are

20    bound by in dealing with the VA, that's just not right.

21                MR. BUTTS:    Well, Your Honor --

22                THE COURT:    There is nothing in federal law that says

23    they can't set different payment terms with you.          Isn't that

24    right?

25                MR. BUTTS:    That's right.    However, we have to make
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1     payment requests to the VA, or eventually to the VA through

2     Spring.    And we have to be able to say what we are asking for.

3     We want to just -- all we're asking -- all we're asking of PRC

4     is just give us the pictures.       Show us the pictures.

5                 THE COURT:    Completely reasonable thing to ask for.          I

6     understand that.     But the assertion that somehow it's unlawful

7     for them to have a different payment term that just doesn't fly.

8                 MR. BUTTS:    Okay.

9                 So, I must -- I misunderstood the Court's direction

10    yesterday to be that the Note A would preclude Oelrich

11    Construction from reasonably asking for photographs of the

12    material that PRC was asking to be paid for.

13                THE COURT:    They told you in the negotiation they

14    would be happy to send photos.       That's documented.     We will get

15    to them.    But, of course, you could ask for photos.         Perfectly

16    reasonable request.      And perfectly reasonable to get very

17    suspicious when somebody won't give you the P sheets and won't

18    send you photos.

19                MR. BUTTS:    Oelrich Construction did ask for the

20    photos and they weren't given the photos.

21                The only photos that I was able to find in evidence,

22    that PRC gave us -- the most recent photo that PRC gave to

23    Oelrich Construction of completed panels -- was Exhibit 250.

24    And by my count I think there are 14 panels in that photograph.

25    That's a defendant's exhibit.
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1                 That exhibit says that it was representative of panels

2     that were produced on August 31st, 2019.         That's the last one.

3                 THE COURT:    So that's where the 14 number you said a

4     few minutes ago came from?

5                 MR. BUTTS:    Yes, sir.

6                 THE COURT:    But you know they had produced more than

7     14.

8                 MR. BUTTS:    I don't know whether they did or not.

9                 THE COURT:    You do because your inspector went up

10    there on December 30th and saw --

11                MR. BUTTS:    No.    I meant on that day.    On August 31st,

12    or whatever the date is -- here it is.        I don't know -- this is

13    the only photograph that Oelrich -- the last photograph Oelrich

14    Construction got.

15                THE COURT:    But you know by some time in October they

16    had produced at least 51.

17                MR. BUTTS:    Yes.    Whether they did them in October or

18    November, but certainly by December the 30th we know they had

19    produced 51.

20                THE COURT:    But your position is they had quit making

21    them in October.     They haven't contested that.       The undisputed

22    facts are by October they were done.        Isn't that right?        They

23    started back up in May.

24                MR. BUTTS:    March.    They started back up in March and

25    produced, I think, 12.
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1                 THE COURT:    And you think they were actually producing

2     them in March?

3                 MR. BUTTS:    I don't know.    This is just their

4     testimony.    It's what they -- how they responded in their

5     interrogatories.     They said they started producing in March.

6     They asked -- Mr. Crehore asked them, on March 17th or 16th,

7     whenever he had the telephone call, he said:          Are you -- have

8     you produced the panels?      The answer was no -- or he said:        Are

9     you producing panels.      And they said no.

10                THE COURT:    They are not producing.      They don't know

11    when they are going to produce.        And then the testimony in the

12    trial is by May they had produced up to what they call

13    82 percent, so some number.

14                MR. BUTTS:    94 panels.    82 percent.

15                And of that -- of the delta between the asserted 70

16    that they had completed in October, and the asserted 94 that

17    they completed in May, they completed -- the testimony from PRC

18    was they completed some in March.        Had to be after the

19    conversation with Chris Crehore because at that time they said

20    they hadn't produced any more.       April and May.

21                THE COURT:    If they said they were producing them in

22    March, I missed it.      How many do you think had been produced as

23    of March 17th?

24                MR. BUTTS:    As of March 17th?     Either 51, according to

25    Dana -- not Dana, but according to the photographs he took and
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1      Oelrich Construction interpreted as 51, or 53 percent of 105, as

2      asserted in Andy Wilson's letter that he responded to SAW with;

3      53 percent, so about 56 or 57.

4                 THE COURT:    Where did he get 53 percent?       Part of what

5      he says in that letter or email is, your October submission said

6      53 percent.    And that's just wrong.     The October submission, at

7      least the one I have seen, said of 63 percent.

8                 MR. BUTTS:    63.4.

9                 THE COURT:    All right.    So, where did he get 53?       Is

10     that a typo?

11                MR. BUTTS:    I don't know.    I don't know.     I had no

12     opportunity to speak with him about that.

13                But he said 53, and according to the interpretation of

14     Dana Noyes' photographs it was 51.       51 panels.    53 percent.     So

15     53 percent is about 56 panels.       It's a difference of five

16     panels.   I don't know how many --

17                THE COURT:    If it's 63 percent it's a difference of

18     another 10 or 12 panels.

19                MR. BUTTS:    Yes, sir.

20                THE COURT:    The reason I ask is, if it turns out that

21     you were obligated to take the ones they had made, this makes a

22     substantial difference in the damage number.

23                MR. BUTTS:    I don't know, Your Honor.      I don't know

24     how many panels they made.       I only have photographs of the 14 in

25     August, and then eventually the photographs of the 51 that Dana
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1      took.

2                 THE COURT:    During discovery did nobody go put eyes on

3      these panels?

4                 MR. BUTTS:    No.

5                 THE COURT:    So far as the record shows nobody on their

6      side went out there and counted them?

7                 MR. BUTTS:    I don't know, Your Honor.

8                 THE COURT:    And they are apparently still sitting

9      there right now.    And here we are in federal court trying a

10     case, they are sitting up there on a lot, and nobody knows how

11     many there are.

12                All right.

13                MR. BUTTS:    So, Your Honor, PRC is asking for payment.

14     They are giving no photographs to justify the number of panels

15     they are asking to be paid for.       They -- at the end of August,

16     they sent photographs with 14 panels.        They assert that in July

17     they made 24, and in August they made 13, but at the end of

18     August we only see 14.     They assert they made 13 more in

19     September and 20 more in October.       No photographs.

20                THE COURT:    Where are these numbers coming from?

21                MR. BUTTS:    Interrogatory -- the 14 is coming from the

22     photograph that's Defendant's Exhibit 50.

23                The numbers that I am getting for the date -- for the

24     months are coming from their response to interrogatories, and I

25     believe it's one of the very last ones.        One of the very last
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1      interrogatories that they responded to.        I forget the number.

2                  THE COURT:    You introduced those at some point?

3                  MR. BUTTS:    Yes.

4                  THE COURT:    We saw some of them during the trial.

5                  All right.

6                  MR. BUTTS:    Yes.

7                  We could put them up, Your Honor, if you would like to

8      see them.

9                  THE COURT:    It would help me if you gave me the

10     number.

11                 MR. BUTTS:    The exhibit number?

12                 THE COURT:    The exhibit number.

13                 MR. BUTTS:    Maybe Mr. Hipworth can help us with that.

14                 MR. DARR:    It's Defendant's Exhibit 306, Your Honor.

15                 THE COURT:    Thank you.

16                 MR. BUTTS:    It's near the end of that.

17                 MR. DARR:    Page 14.

18                 THE COURT:    Got it.   That's where their 70 comes from?

19                 MR. BUTTS:    Yes.

20                 THE COURT:    Okay.   That's out of either 105 or 115?

21                 MR. BUTTS:    Yes.

22                 THE COURT:    And we get that number from references in

23     some of these documents.

24                 I would have thought that there would be a definitive

25     number if you went back and looked at something -- the specs,
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1      the drawings -- there would be some way to figure out exactly

2      how many pieces there were supposed to be.

3                 MR. BUTTS:    I don't know how they count the pieces,

4      Your Honor.    I don't know what constitutes a piece.        But, it

5      would seem that if PRC is seeking to get paid for material --

6      they are the ones who are saying what the percentages are of the

7      completion and they are the ones who would need to demonstrate

8      that they had completed these.       And so consequently the burden

9      is on them if they want to be paid for these panels.          If they

10     said they should be paid for more panels, to demonstrate that

11     they actually made them.      But the only thing that we have are

12     Dana Noyes' pictures and the photographs that you see before

13     you.

14                THE COURT:    To get the number, I guess at least on

15     their count, if I took 70 and divided it by 63 percent, the

16     number in their October pay request, that's going to come up

17     more than a 105.    And I don't have a calculator.        I don't know

18     that it's going to be as high as 115.        It's probably going to be

19     somewhere in between, but we can do that arithmetic.

20                While on that subject, there is a reference in some of

21     these earlier documents to embeds having been done earlier.            And

22     I am not sure I understood what the embed was as opposed to

23     these pieces we are talking about later.

24                MR. BUTTS:    Your Honor, if I may, the panels are like

25     this.   Here is a picture of a panel.       We can't see the back of
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1      the panel, but on the back there are -- let's just say -- bolts

2      sticking out, or opportunities to receive --

3                 THE COURT:    Right.   Things you hook it on with?

4                 MR. BUTTS:    Yes.   And we don't see the precast -- not

5      the precast, but the cast-in-place concrete columns and beams,

6      but they probably have a protruding element that sticks out,

7      cast right into the concrete so when it hardens it's just there.

8      And then the crane holds it up and a welder welds the piece

9      that's sticking out to the receptive piece here on the back of

10     the precast.    And that's what holds them in place.

11                I don't -- I don't know, but from my perspective, and

12     having been involved in construction and construction cases, I

13     think the pieces that were referred to in this case are cast

14     concrete pieces, not pieces of metal.

15                THE COURT:    Did PRC do the embeds?      Did they provide

16     the metal?

17                MR. BUTTS:    PRC was to provide the metal as part of

18     their contract, which I believe was around 274.         But then there

19     was a deductive change order because the embeds were taken out,

20     or at least some of the embeds were taken out, of the contract.

21     And I think they were probably provided by Oelrich Construction.

22     It was a $2500 change order that you may have noticed in there.

23                THE COURT:    So if one wants to figure out the dollar

24     amount that goes with say 63 percent completion, all one does is

25     takes the contract amount reduced by the $2500 change order and
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1      multiplies it by 63 percent.      Does that work?

2                 MR. BUTTS:    No, Your Honor, because there are four

3      components of the -- if you recall on the schedule of values, it

4      begins with things like maybe mobilization, shop drawings.            Then

5      it gets down to forms and material, which are the forms that you

6      heard Randall Forde talk about yesterday.        And then the concrete

7      and aggregate and things that are going to go into the form and

8      get mixed up and harden and become the panels.

9                 The panels, on line number four, which are the actual

10     produced panels; it is PRC's assertion that at the end of

11     October that they had produced 63.4 percent of the panels, which

12     translates to a number, that I don't have at the top of my head,

13     of 105, perhaps as many as 115, I don't know.         But, the number I

14     think we have all been generally working with, in the lawsuit,

15     is 105.   Now -- so that's why your calculation --

16                THE COURT:    That doesn't work because if it's 70 and

17     105 it just turns out that that math is easy.         That's

18     66.7 percent.

19                MR. BUTTS:    Right.

20                THE COURT:    And so 63.4 means the number has to be

21     higher than 105, if those are the right numbers.          Now I

22     understand there is a little bit of uncertainty in all of this.

23                MR. BUTTS:    If you recall, Your Honor, that they

24     billed for this in October of 2019, as being some asserted

25     percentage.    It wasn't until much later that they responded to
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1      discovery.    And it's possible that they actually realized that

2      maybe they had produced another panel or two or a cap they

3      hadn't counted.    I don't know.     Mr. Darr may be able to help us

4      with that.    I don't know.

5                 My main point -- and this, so far, in this part of our

6      closing argument -- is that we don't have -- Oelrich

7      Construction does not have any assurance in terms of

8      documentation from PRC that they had produced 70 panels by the

9      end of October.    In fact, they don't have any photographic

10     assurance that PRC has produced anything beyond the 14 panels in

11     the August 31st photograph.

12                So --

13                THE COURT:    Well, your own photos show 51.

14                MR. BUTTS:    Yes, Your Honor, but at the time --

15                THE COURT:    At the time, but what difference does it

16     make what they had done in October?

17                MR. BUTTS:    Because they are asserting that we were in

18     breach of contract because we were late paying.

19                Oelrich Construction is saying:       Wait a minute, you

20     guys aren't even giving us any photographs.         You showed us 14

21     photographs and you are demanding 70 panels that you can't show

22     us you made.    Just give us the photographs and give us the lien

23     waivers and we'll pay you.      That's what I'm saying.

24                THE COURT:    All right.

25                MR. BUTTS:    So we are not in breach.      We are
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1      reasonably asking them for something to support what they are

2      asking to be paid for.     And that's the point of this part of the

3      discussion.

4                  THE COURT:   Got it.

5                  I do have it right that they never said they were --

6      they never told you they were stopping production because they

7      were unpaid.    They never said:     We don't want to go forward.          We

8      are calling it off because we've been unpaid.         I mean, there was

9      jockeying back and forth about payment but nobody ever said this

10     effects the schedule, the performance, the validity of the

11     contract.    This is just a side issue; isn't it?

12                 MR. BUTTS:   I agree with that.

13                 So, we get to December of 2019.      Middle of December,

14     PRC says:    Guess what?   We're a hundred percent done.       This is

15     good news to Chris Crehore because he's ready for these panels

16     to go up on January the 6th.       So he says:   Let's go on January

17     the 6th.

18                 He is skeptical about -- he knows he doesn't have any

19     lift plan.    He is still missing the certifications.        He's only

20     just received the activity hazard analysis at that point, so --

21     but it's bad news to him because he doesn't have any photographs

22     to be sure that he has got panels for an erector on the 6th.

23     And he says to Forde Davis:      I need you to be ready to go on the

24     6th.   Forde says:    I'm sorry, Chris.     We don't have a lift.      We

25     don't have a crane.      Chris says:   Well, I'll get you one.       And
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1      he does.    And he let's him know on the 31st day of December:

2      Good news.    I got you a crane.

3                  But he told him before:     I am sending somebody up

4      there to look at these panels because I can't take a chance that

5      I got my crane guy sitting down here on the 6th and I don't have

6      panels.    So he asked his friend, Dana Noyes, who had been fired

7      by Ivan:    Will you go up there and check on it for me, please.

8      I need to know if we have got a 105, or whatever -- he didn't

9      say 105.    I need to know what they have up there.

10                 Dana testified:    I didn't know how many I was looking

11     for, or how many to count.      I just needed to go up there and

12     look at all the panels they had and report back to Chris so that

13     they could know whether or not there was sufficient material

14     there for them to do whatever they wanted to do.          Because at

15     that point Dana had been away from the company almost two

16     months.

17                 THE COURT:   Help me out with part of this, and I have

18     this question of both sides -- and I think I have asked

19     Mr. Davis some about this.      May have asked Mr. Noyes -- some of

20     this doesn't make any sense to me.

21                 You send Mr. Noyes all the way to Greenville to look

22     at what they have and you don't tell him what they are supposed

23     to have?    And then on the other side, you know, Mr. Davis says:

24     I showed him some.     I didn't show him all of it.       Seems to me an

25     awful lot of effort to go to be this unconcerned with the
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1      details.

2                  MR. BUTTS:   Well, Your Honor, I don't know exactly

3      what was going through Mr. Noyes' mind, but we heard Mr. Crehore

4      testify that he asked Dana to go up there and see if they had

5      all of these panels ready to go.

6                  THE COURT:   Right.    You just told me, nobody told him

7      how many panels he was looking for.

8                  MR. BUTTS:   That's what Mr. Noyes said.       So I don't

9      know what Mr. Crehore asked him to do except what Mr. Crehore

10     said he asked him to do.

11                 Mr. Noyes said that he went up there.       Asked Mr. --

12     Forde -- Mr. Davis -- where are the panels?         He pointed to this

13     stack over here.    And he testified that he photographed

14     everything in that stack.      And he took three photographs of that

15     stack.   And then he says:     Where are the rest of them?

16                 Mr. Davis takes him out in the yard.       He takes two

17     more pictures of the stack that he points to.         And he testified

18     that he took pictures of everything Davis said was his.

19                 THE COURT:   Yeah.    I mean, I guess that was my

20     question.    Doesn't make any sense.     You'd think the man went all

21     the way to Greenville to find out whether all the panels were

22     there, you'd think after he saw these two stacks, and there are

23     about 50 panels, he would have said:        Where are the rest of

24     them?    There is supposed to be 105.

25                 MR. BUTTS:   He did.
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1                 THE COURT:    No; he didn't.     He said he didn't know how

2      many there were supposed to be.

3                 MR. BUTTS:    He said -- no; he didn't know there were

4      supposed to be 105, but he did ask him where the rest of them

5      were when he saw the ones inside there.        And he was familiar

6      enough with the building to know that that bunch inside those

7      caps were not all the panels.       So he said:    Where are the rest

8      of them.

9                 THE COURT:    And he got shown another stack and

10     apparently at that point he didn't say:        Where are the rest of

11     them?   We are -- this is still only half.

12                MR. BUTTS:    I don't remember what his testimony was in

13     that regard, except that my recollection is that he left there

14     of the opinion that he had photographed everything that he was

15     told were Ivan Oelrich's panels.       That's all I know.

16                THE COURT:    And didn't know whether that was all that

17     was supposed to be or not.

18                MR. BUTTS:    That's correct.     That was his testimony.

19     He didn't know and he wasn't told.

20                THE COURT:    Got it.    Wasn't told by Mr. Davis and

21     wasn't told by Mr. Crehore.

22                MR. BUTTS:    I don't know what Mr. Crehore told him.           I

23     don't -- his testimony was that he did not -- he did not go up

24     there to count panels.     He did not go up there with a direction

25     to say:    Check off this list.
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1                  Maybe that would have been a better idea, but he

2      didn't.    But the main point of this part of the discussion is

3      that Chris Crehore needed to know whether or not there were a

4      hundred percent of the panels up there in South Carolina, so

5      that he could have panels for his erector that he lined up to

6      hang on this building.

7                  When Dana Noyes came back, Chris Crehore realized that

8      there were less than half the panels up there built.          And he

9      challenged -- he challenged PRC at that point:         Where are the

10     panels?

11                 And the answer came from Randall Forde -- Randall

12     Davis.    Excuse me.   Randall Davis said:     Tell you what, on the

13     31st day of December, we're not going to be able to make it for

14     the 6th, but we will get you fixed up on the 17th of February.

15                 So, at that point the 6th date slipped.        The erector

16     slipped and we're moving into January.

17                 Shortly after that gets started we get a letter from

18     SAW that says:    Looks like you guys are in default.        And Andy

19     Wilson responds and he says:      Well, we are really not on the

20     critical path with these panels yet -- which was true, but he

21     said:    By the way, we're having problems with these folks and it

22     looks like they are only 53 percent complete instead of a

23     hundred, or whatever they had asserted back in October or

24     whenever the last pay request was -- 63 or whatever.          He tells

25     them.
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1                  So Chris Crehore, though, is of the belief that, well,

2      maybe everything is going to be all right because we're going to

3      put them up on the 17th.      We're probably still going to get them

4      up in time and we can keep the ball rolling and he can go focus

5      on something else.

6                  Still, he's not getting a lift plan.       He's not getting

7      the OSHA certificate for the guy who is going to operate the

8      crane and be on the job site.       And so he becomes -- he remains

9      skeptical as we get toward the end of the month and he takes it

10     on himself to go up there to sit across the table from Forde and

11     say:   Can you guys do this or not?      If you can't do it, I am

12     going to get somebody else -- words to that effect.

13                 Forde Davis gave him a sufficient level of assurance

14     that they were able and willing and going to perform this

15     project.    That's good news to Chris Crehore because he's in a

16     bind now.    He's getting out in terms of the number of days that

17     he has got to get these panels up.       He has got 109,000, 110,000

18     in this thing.    And he's got all of this pressure breathing down

19     on him.    And he's got to make some decisions here and either he

20     is going to have to sue to try to get those panels back down to

21     Gainesville -- replevin -- or he is going to have to try to ride

22     it out with these guys.      He chooses both.

23                 THE COURT:   The date when he went up and sat down and

24     talked to him, do you have that date?

25                 MR. BUTTS:   I believe it -- I can't remember exactly
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1      what his testimony was, but the 28th may have been that date.

2      He said -- I'm sure he said late January.        So -- but the

3      replevin has a problem.

4                  THE COURT:   At that point, the scheduled date is still

5      February 17th?

6                  MR. BUTTS:   Yes, sir.    At that point though -- but the

7      replevin has a problem because of the matching issue.          So this

8      building is a free-standing building.        It's got to match a

9      building that's over there a little ways.        And, they were able

10     to get a reasonable match that satisfied the architect -- PRC

11     was.

12                 And -- and -- but the problem comes in is if now

13     we've -- we've got 51 panels that have -- that are made one way.

14     If we can get these panels from PRC.        And then we got to find

15     somebody else to build the remaining whatever it is.          And, if

16     the aggregate doesn't -- now these panels are right next to one

17     another so it becomes more of a critical exacting match.

18                 At the same time, we're being assured that we're going

19     to go on February 17th.      So, the replevin is put on hold.        Not

20     served.   It's put on hold to try to just -- let's just get the

21     job done.    And so the dialogue continues through the month of

22     February.

23                 THE COURT:   I get putting the lawsuit on hold and just

24     not serving it.    Probably not the best practice but I understand

25     that that can be done.
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1                  I guess I should ask you this -- it's been a long time

2      since I worried about the Florida Rules of Civil Procedure.            I

3      seem to vaguely recall a deadline coming into Florida law some

4      time while I was still a lawyer, so a long time ago.          What's the

5      deadline?

6                  MR. BUTTS:   120.

7                  THE COURT:   120 days?

8                  MR. BUTTS:   Yes, sir.    And that -- the time to amend

9      and serve was exceeded, but we got an extension from the

10     judge -- Judge Blazington gave us an extension.

11                 THE COURT:   I understand not going forward at that

12     point.   The part I don't understand is what I asked Mr. Oelrich

13     about at the end of all of the testimony, and I guess the answer

14     is, it was just a mistake.      We filed a replevin action but we

15     never really wanted replevin because we would have known all

16     along, if we had just thought about it, that those panels

17     wouldn't do us any good.      But that's the best you've got.

18                 MR. BUTTS:   Mr. Oelrich's testimony is what the Court

19     has to consider.    I'm not sure, and perhaps -- I'm not sure the

20     extent to which Mr. Oelrich understands the idea of service and

21     not service, the concept of replevin.        But the strategic

22     analysis of that --

23                 THE COURT:   Somebody approved that lawsuit?

24                 MR. BUTTS:   Yes.

25                 THE COURT:   Somebody -- and, I mean, the lawyers don't
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1      do this by themselves.     Nobody in the law firm said:       Well,

2      let's just go file a replevin action.        Somebody at the company,

3      and I think Mr. Oelrich said him, signed off on filing a lawsuit

4      to compel PRC to turn over this construction.

5                 MR. BUTTS:    That was the intent, Your Honor.

6                 THE COURT:    And as far as I'm aware, there is nothing

7      in the record to suggest that anything changed from the time the

8      replevin action was filed to the time at which Oelrich decided,

9      we're going to go get Spring Precast to do this, and we're not

10     going to try to get the material from PRC, we're not going to

11     try to match it, we just decided that isn't going to work.

12                MR. BUTTS:    Your Honor --

13                THE COURT:    I'm right about that, right?       There's

14     nothing in the record to give any more analysis to this?

15                MR. BUTTS:    I disagree, Your Honor.

16                The thing that's in the record is that there was

17     assurance given by Forde Davis that it may be more advantageous

18     for -- in this case, Mr. Crehore, to continue to try to work

19     with him to get those panels installed.        That was the goal.

20     Nobody wanted to file a lawsuit for replevin, or anything else.

21     We just wanted the panels put on the building.         And if nothing

22     else just bring them down to Gainesville, or let us come get

23     them, but just finish them.      So that's what changed.

24                THE COURT:    That's what changed in terms of going

25     forward with the lawsuit.      But in terms of whether these panels
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1      could be matched, and whether Oelrich could expect to be able to

2      match the panels, nothing changed.       Oelrich didn't get any more

3      information.    Oelrich didn't check with anybody, do any further

4      analysis.    Didn't go back to the contractor or the VA.        Nobody

5      said:   You can't have two subs.

6                  If Oelrich sat down to analyze the problem, the

7      analysis on the day they filed the replevin action, and on the

8      day they decided not to go back to PRC but to go straight to

9      Spring, the factual information available, the analysis

10     available, the same.     True?

11                 MR. BUTTS:   Not completely, because when the

12     termination discussion took place with Mr. Crehore and Mr. Davis

13     there were invitations -- opportunities -- for dialogue that Mr.

14     Crehore extended, in the invitation and in the telephone call

15     according to his testimony, where if that was going to be an

16     option, if that was a better option, it could have been

17     expressed by Forde Davis to say:       Well, look, when Mr. Crehore

18     says, Is there anything else we need to talk about, or when he

19     writes in his email:     If I've got this wrong, let me know.

20     Forde Davis does not say:      Look, we've got 60 -- whatever, 50,

21     60 panels down here.     Let us just finish them, or, let us just

22     give you the -- whatever it is -- the aggregate or the formula

23     or whatever it is and you guys can finish them.

24                 The invitation was not accepted.       There was no

25     dialogue between these companies.       There was contention.        There
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1      was deception.    There was mistrust -- justified mistrust on the

2      part of Oelrich Construction.       These guys billed for a hundred

3      percent of the panels when they knew they didn't have them done.

4                  So is Oelrich Construction going to -- are they

5      obligated to continue to explore options with these folks when,

6      at every time -- every turn -- they have been rebuffed.              They

7      have been turned away.      They don't answer phone calls.      They

8      don't respond to emails.      They give vague assurances, if

9      assurances at all, and when they give them, on February 17th,

10     they don't follow through.

11                 So Oelrich Construction is out there trying to get

12     this building done and they are in a race with SAW.          They don't

13     know when SAW is going to get done.       They are lucky SAW didn't

14     get done.    But if SAW had gotten done in the summer of 2020,

15     this would have been a whole different thing.         Huge delay

16     damages.    But, it didn't happen.     Luckily, it didn't happen.

17     Luckily SAW got the panels up soon enough.

18                 I don't know.    I don't know, Your Honor.      Sometimes --

19     sometimes when we're in the heat of the battle we -- our

20     decisions are not as perfect as they would be if we get a chance

21     to reflect on them.

22                 I don't know whether to criticize Mr. Crehore for that

23     reason, or Mr. Oelrich for next time.        Why don't you go up there

24     and count the panels?     Why don't you go up there and try to talk

25     to them and say:    Let's work it out?      Chris Crehore did that.
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1      Let's -- come on.     Let's just work it out, you guys.       We don't

2      have to have a fight over this thing.        We want to pay you.      You

3      want to get the panels out of the yard.         Just finish them.

4      Randall Davis says they can knock them out in three weeks.            Just

5      do it.   Do it and send us the bill.

6                 So we get to March 17th.      Chris Crehore says -- now,

7      we're past the critical path at this point.         Now the pressure is

8      really on -- are you making panels?       No.   Forde Davis; dialogue

9      all during February:     Well, 22 days to make them.       This and

10     that.

11                Then they get -- you know, February 17th slips.           They

12     are talking about maybe we can do it on March the 4th or the

13     6th, and that slips.

14                And then there is a conversation and Forde says:           I

15     think we can build them in 22 days, Chris.         And, Chris adds it

16     up, figures it out, 22 days puts us on March 16th.          We will give

17     you a week.    Got to get the OSHA-30.      Get us your lift plan in

18     the meantime.    And so:   How does this date sound for you, Forde?

19     Silence.

20                March 16th.     Silence.

21                Well, we think -- it looks like we can start on the

22     23rd, and the 6th at the latest.       Silence.    Nothing.

23                Now we are at March 17th or 16th.        I don't know what

24     phone call may have taken place in the meantime.          But the

25     conversation that you've heard so much about, that led to the
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1      March 17th termination note was:       When will you be making the

2      panels?   When are you going to make them?       No, we don't know.

3                 No assurance at all past the critical path.

4                 Does he go up there and try to get those panels and

5      bring them down here, or does he just terminate them and find

6      somebody else?    I don't know in hindsight what his best

7      option -- remedy -- would be.       But I can't imagine what it would

8      be like to be in his position at that point.

9                 Forde:    Is there anything else you want to talk about

10     in this conversation?     No.    I'm going to have to terminate you,

11     Forde.    Hang up.   He sends out the termination letter.

12                THE COURT:    I don't think anybody said he told him

13     that on the phone; did he?

14                MR. BUTTS:    Told him what?

15                THE COURT:    That:    I am going to terminate you.

16                MR. BUTTS:    Yes.    He told him he's going to have to

17     terminate him.    So then he does.     He sends the email.     And it's

18     unclear to me whether it was the same day, or the next day, but

19     he sends an email right away; Forde Davis.

20                Now, Forde Davis, he knows he has been terminated.              He

21     gets an email and he says that he read it, but he wasn't looking

22     for the termination language.       He missed it.    I don't know.     I

23     don't know.

24                PRC having not fabricated anything -- having not

25     represented to Chris Crehore that they had fabricated anything
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1      since October on that day, says, on the exhibit we looked at

2      earlier, Your Honor, that they fabricated 12 panels in March.

3      And they fabricated some more in April.        And they fabricated

4      some more in May.     And they got up to 94 panels.

5                  But they didn't do a pay request, Your Honor, for any

6      panels that they fabricated in March.        There is nothing in the

7      evidence.    They did no pay request for anything they allegedly

8      fabricated in April or May.      No pay requests.     No dialogue.

9      No -- no involvement between the two companies.

10                 All of a sudden it's silent, until he says that he

11     called somebody in May -- and he doesn't know who they were --

12     and he was told at that time by this person that PRC had been

13     terminated.    I believe that was -- that was the testimony.          We

14     don't know who he called.

15                 THE COURT:   Let me back up a little.      I am still I

16     guess surprised, and I may simply have missed it, but I was

17     surprised a moment ago when you told me that Mr. Crehore told

18     Forde Davis on March 17th or 16th -- I think it was the 17th --

19     orally, "I am terminating you".

20                 And I am looking at the March 17th letter -- email --

21     that Mr. Crehore sent to Mr. Davis, and he says:          These are my

22     understandings.    We were working toward April 6th.        You have

23     told me that PRC is not currently making panels.          Yes; that's

24     what happened during that conversation.        It's clear you're not

25     going to be able to fulfill the terms of the contract.          Okay.
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1      He said:   I am not making panels and I can't tell you when I am

2      going to make panels.

3                 Then he says:     Therefore, Oelrich Construction has no

4      choice but to terminate the contract per Article VII of your

5      subcontract agreement.     Consider this notice of said

6      termination.

7                 Now if he had just finished telling him orally that

8      "you are terminated" and he is writing an email that confirms

9      some of what was said in that conversation, why would the email

10     not say, "as I told you, we are terminating you?"

11                MR. BUTTS:    I don't know the answer.

12                THE COURT:    There is no reference in the email to

13     having told him that.

14                MR. BUTTS:    I don't know.    I don't know, Your Honor.

15     Perhaps we can go back to his deposition transcript on that.

16     It's part of the record, but my recollection --

17                THE COURT:    I suppose it is only because you listed

18     deposition transcripts as exhibits and nobody objected, so I

19     suppose they are part of it, and you think part of that

20     testimony.    And I deliberately didn't read all of the

21     depositions before trial.

22                MR. BUTTS:    I don't know.    But I'm pretty sure that

23     his testimony at trial was that he told him he was terminated,

24     or he told him "I am going to terminate you."         I don't remember

25     exactly what he said, but I am pretty sure that that's what he
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1      said he said.    One of those two things.

2                 THE COURT:    We have a record of just exactly what he

3      said, so I can look back at it.

4                 MR. BUTTS:    Okay.    Good.   That was my understanding.

5                 So, we don't hear anything from them -- from PRC.           But

6      when Forde Davis reads that email, allegedly in March, carefully

7      and reaches the conclusion that he had been terminated, what

8      should he have done?     What could he have done in May of 2020?

9      At this point, Spring Precast had not began fabricating any

10     panels until September.      They were unable to get the aggregate

11     matched and all that stuff until September.

12                So, had Forde Davis read that email, and done what

13     Chris Crehore asked him to do -- let me know if there is

14     something we need to talk about -- well, how about this?             We've

15     got -- now we've got 94 panels, Chris.        All I got to do is make

16     11 more.   You bring them down and hang them on that building and

17     we're done.

18                THE COURT:    He didn't have 94 at that point.

19                MR. BUTTS:    He allegedly -- if he is right, if his --

20     if the answer to the interrogatory is correct, that we looked at

21     earlier this morning, if you add them all up, they may -- they

22     assert that they made 70 through October and another 24 after

23     March 17th -- and, well, they say in their thing, March through

24     May.

25                THE COURT:    Right.   But as of March 17th, when Mr.
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1      Crehore wrote the termination note, they had only made 70.            So

2      they had 35 to go and that matches up with some of the other --

3                  MR. BUTTS:   Yes, sir.

4                  THE COURT:   -- documentation.

5                  MR. BUTTS:   But remember the hypothetical

6      discussion -- conversation -- I'm talking about now would be

7      taking place in May after Forde has read the email and

8      admittedly understands at that point that he has been fired.               My

9      point is, what should he do?       What could he have done?     And this

10     is to the Court's point earlier.

11                 THE COURT:   Yeah.

12                 MR. BUTTS:   All he had to do -- all he had to do was

13     call Chris Crehore and say:       We've got 94 made now, Chris.       We

14     are out here in May and we only need 11 more.         Have you got

15     another precaster yet?     Well, yeah, but they can't -- they are

16     not ready to go.

17                 Well, we can go.     We can finish these 11 next week.

18     And we will get them on a truck down there to you.          And if we

19     don't have an erector, maybe you can get one or we will work

20     that out.   Let's don't have a lawsuit.       We will work that out

21     and then you pay us the rest of our money and you've got your

22     panels and you're on schedule.       Why not -- or, why not Forde say

23     to his dad:    Hey, we're terminated.     We got 94 panels sitting

24     out here.   What are we going to do with them?        And his dad says:

25     You know what, I remember Mr. Oelrich wrote me a nice email way
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1      back there January and he said:       Can we just talk?     Can we get

2      this worked out?    Do we really need to fight over this.

3                 Now we are at the end of the road.        We've got 94 of a

4      105.   Why doesn't Randall Davis call up Ivan Oelrich, like two

5      men, and say:    What can we do?     We have got 94 panels, Ivan.

6      You need them all.     I can get you the other 11.      And we can be

7      done with this thing.      No storage.   No disposal.     No lost

8      profit.    None of that.

9                 Nothing.    They don't do one thing.      They don't do one

10     thing until they get sued.

11                I don't think they had the 94, Your Honor.         That's

12     just me.   I don't know how many they had, more than the 51.

13     That's just me.    I don't know why they did not contact Ivan

14     Oelrich at that time, but that's just me.

15                In weighing the candor of this testimony, Your Honor,

16     PRC billed for a hundred percent of this work at a time when

17     they had, at best, by their own admission -- well, we don't know

18     need to know that -- 51, according to Dana.

19                THE COURT:    Let me ask you about that.       They did, and

20     I asked Mr. Davis about it; the only excuse for sending that

21     bill is if they thought they were going to -- and had good

22     reason to think they were going to -- complete the production

23     during December.

24                I even asked the question:       Did it occur to you it

25     might be a federal crime.
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1                  I preside over a number of federal fraud trials and

2      let me tell you, you swear to something asking for payment for

3      something you haven't done, and aren't going to do during that

4      month, I have presided over cases with less than that in a

5      criminal trial.    But -- so I understand.      It's pretty serious to

6      go submitting a bill for a hundred percent production when it's

7      not done, particularly if you don't have any reason to think you

8      are going to do it.

9                  But let me ask you about one thing here.        The bill, I

10     think, was December 16 was the pay request.         Here it is.      I am

11     looking at Defendant's Exhibit 110.        It's an email from Allison

12     Taylor at PRC Precast.     I think Mr. or Ms. Taylor is the billing

13     person.

14                 The email says:     This was my mistake.    I don't believe

15     it's shipping this month.       Please see the revised application

16     attached.

17                 I don't know that I have seen the revised application,

18     but from the email it sounds like there is a revised application

19     that doesn't have a hundred percent on it.         Maybe that's not

20     what that is.    Can you explain that email to me?

21                 MR. BUTTS:   Yes.    I think that we're looking at it

22     now, and what Ms. -- no.      I'm sorry.    The difference in the two

23     is that the revised application deleted the line item 5 for

24     freight.    And I mentioned that in my opening that nobody is

25     asserting here today that PRC overbilled for freight.
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1                 THE COURT:    Got it.    Okay.   So made a mistake on the

2      freight but the revised bill still had the hundred percent on

3      it?

4                 MR. BUTTS:    Yes.

5                 THE COURT:    All right.    That's why I ask questions.

6      Thank you.

7                 MR. BUTTS:    Going to the candor, Your Honor.       Weighing

8      the candor; we have PRC billing for a hundred percent of panels

9      when they know they don't have a hundred percent done.

10                We have PRC testifying that that's okay because they

11     told somebody from Oelrich Construction -- somebody from PRC

12     told somebody from Oelrich Construction -- that we're just going

13     to bill you for a hundred percent but you don't have to pay it.

14     And we always do it and everybody likes it.

15                And it's true that Note A says that before the panels

16     leave the building they get paid.       Hundred percent.     However, it

17     doesn't say that they can bill for panels they haven't made.

18                So they bill for a hundred percent of the panels, and

19     they knew that they hadn't made them, and they are making this

20     argument that they told somebody something and nobody from

21     Oelrich Construction can remember anything like that.

22                Instead, Oelrich Construction is saying:         Great.

23     Bring them out.    Let's put them up.

24                Forde -- we are to believe that Forde Davis read that

25     termination email on March the 17th.        He admitted that he read
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1      it.   He read it.   But he didn't see the word "termination" in

2      there.

3                  We are to believe that Dana drove all the way to

4      Greenville, South Carolina, and did not ask to see all the

5      panels they had made.

6                  We are to believe, according to PRC, that they just --

7      the reason they never responded to any of this trivial stuff

8      that Oelrich was asking for -- you know, OSHA certificates,

9      photographs, lien waivers -- is because too many people from

10     Oelrich Construction called them, emailed them, or bothered them

11     for photographs of the material that they wanted to be paid for,

12     to the extent that Oelrich Construction had to ask Dana Noyes to

13     drive all the way to Greenville, South Carolina just to see if

14     they built a hundred percent of those panels.

15                 Now, we have Mr. Davis, Randall Davis, brings in --

16     after he had given his testimony in a deposition that he had

17     done no calculations for most of these handwritten scratched out

18     things that he is calling his damages calculations -- he brings

19     them in the next morning.      His deposition ends at 5.      He is back

20     by 2.    I don't remember the exact times.      And he's got all this

21     to finish up his deposition.      He has nothing to support it

22     except that he says he is an expert in these fields.          That goes

23     to the weight, Your Honor.

24                 On the other hand, we have Chris Crehore.        Chris

25     Crehore fired by Ivan Oelrich.       It was not a pleasant departure.
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1      Chris Crehore has no incentive to do anything for Ivan Oelrich

2      except to come in this courtroom and tell the Court the truth.

3      Neither does Dana Noyes.      And that's what they did.      You heard

4      the truth from those two men and I admire them both for it.

5                 Thank you, Your Honor.

6                 THE COURT:    Mr. Darr?

7                 Why don't we do this, let's take a few minutes.           We

8      will start back at 10:15.      That will give us an eight minute

9      break.

10          (Recess taken 10:07.)

11          (Resumed at 10:16.)

12                THE COURT:    Please be seated.

13                Mr. Darr?

14                MR. DARR:    Good morning, Your Honor.

15                So, in my mind the trial did not really change much

16     about what I thought about at the beginning of this case in my

17     opening statement.

18                I view this case as one where a construction

19     contractor was operating as though its form contract applied

20     when it didn't, and when things went awry they wrongfully

21     exercised what I would describe as the nuclear option of

22     remedies in construction law; termination.

23                Now, as I said during my opening I doubt the number

24     one issue here is the wrongful termination of PRC.          It wasn't

25     done correctly.    I am listening to what the Court is saying and
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1      I recall you saying you are the fact-finder, so I would like to

2      go ahead and switch around my argument and I am going to focus

3      on the prior breach issue first.

4                  Now, as we established during the trial, this wasn't

5      Oelrich's form contract in the sense that PRC had that Note A

6      additional terms that they have testified they absolutely had to

7      have.   It was, quote, imperative they have it added to the

8      contract.    The testimony revealed that they would not have

9      entered into this contract without those Note A terms.          And in

10     my mind you can't get any more material than that.          If those

11     Note A terms weren't in this contract I probably would have

12     advised my client differently and we might not be here today.

13     But they were.

14                 So with that in mind, as the Court heard, those terms

15     were pretty beneficial to my client, PRC.        Pay us net 30 days.

16     If you're more than five days past due we've got the express

17     right to put your work on hold.

18                 If you get past due, we're going to have to modify the

19     delivery schedule to mutually agreed dates.         No withholding of

20     retainage on work that we are actually making for you at our

21     facility.    And, most importantly, these terms and conditions

22     supercede all of the other payment terms in the contract.

23                 Now, as to which particular terms and particular

24     paragraph five of the contract are payment terms.          That's

25     something I am willing to get into if Your Honor wants to talk
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1      about which are canceled out and which aren't.

2                  THE COURT:    I don't think it matters.     Let me tell you

3      what the difficulty you have on the payment argument is:             Look,

4      they messed up.    They took retainage and they weren't entitled

5      to it.    And there was some back and forth.       And I think it's

6      pretty clear they were going to pay you.        Nobody was asserting

7      that they didn't have to pay whatever they actually owed.            There

8      was some discussion between the -- I don't want to call them

9      bookkeepers -- the professionals that deal with accounts payable

10     and so forth -- the people that do that aspect of it -- they are

11     communicating back and forth.

12                 But, here is the difficulty; PRC never said:        We're

13     done here.    Never said:    We're going to stop production until we

14     get our bill paid.      Never said:   This is any kind of a problem

15     for actually performing on this contract.

16                 I mean, you can go through.      There is documentation

17     about scheduling this for January 6th.        And then scheduling it

18     for February 17th.      And then scheduling it for April 6th.        All

19     without any objection from PRC when the schedule was made.            And

20     February 17th at PRC's request.

21                 They're not saying:     Look, non-payment is a problem

22     here.    They're just putting things off for reasons having

23     nothing to do with payment.      Now, am I wrong about that?

24                 MR. DARR:    Well, two things:    One --

25                 THE COURT:    And I guess the follow-up question is:           If
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1      I am right about that, doesn't that mean that the failure to pay

2      doesn't have anything to do with the dispute we are here dealing

3      with?

4                 MR. DARR:    Okay.   Two points I'd like to make in

5      response to that:     One is, I think you're right.       One thing, one

6      of the first things I noticed when I got this case was the lack

7      of any written communication saying:        Hey, you guys haven't

8      paid.   We are suspending production.       That's what I would call

9      an A plus case.    I would like to have that document there so I

10     could say:    Right there, Your Honor, there is the email that

11     told them.    That doesn't exist.

12                Now it wasn't required under the Note A terms either.

13     There is nothing in there that required us to give them notice

14     that we had suspended production.       We just had the right to do

15     it.

16                As to the second point I want to make:         Yes; they were

17     still behind in payment when we still tried to work with them in

18     the spring of 2020.     But the thing that derailed all of this to

19     start out -- the but-for if you will -- was the untimely payment

20     throughout December of 2018 up through October of 2019 from

21     Oelrich.

22                Once that happened, that is what caused, in part, that

23     and the predecessor work not being done, the whole thing started

24     to go off the rails, so to speak, right?        Because that lack of

25     payment -- had they timely paid, and had the predecessor work
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1      been done, we wouldn't be here probably.        But the lack of timely

2      payment --

3                  THE COURT:    Let me ask about that because my take on

4      the facts, I think, is different.

5                  Here's my impression, and I put this out there so you

6      can tell me what's wrong about this; first, the schedule got

7      pushed back for reasons not attributable to either side.             Stuff

8      under the ground that didn't need to be there, bats in the

9      lines, or whatever.      So, it slides the whole deal.

10                 Now, PRC has negotiated a different term on what

11     happens when there is a delay.       The form contract, the proposal

12     that Oelrich made said, if the schedule changes we will tell you

13     the schedule and you got to do it our way.         And PRC said no; if

14     the schedule changes we have to agree.        So, PRC is right in

15     there.    You can't change it to a date they don't agree on.          And

16     I think both sides have to be reasonable about that.          So, that's

17     where it is.

18                 The whole thing slides and it is going to gear back up

19     and we get to the end of the year; November, it's going to be

20     coming up pretty soon.      Both sides have emails acknowledging

21     that.    It gets set for January the 6th.      Initially PRC is okay

22     with that.    In fact, the only justification -- the only

23     justification -- for sending a bill for a hundred percent, the

24     only way it's not a federal crime to submit that bill is if they

25     think they're going to produce the product during December,
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1      which is consistent with the January 6th date.

2                  Within a few days there is an email from Forde Davis

3      saying:    We've been dealing with our erector.       We told him some

4      time in January, but now January 6th, and now we hear from him

5      he can't do it January 6th.      Got to move it.     Okay.

6                  That's what derailed this.      There is nothing in any of

7      that saying we suspended production, because of non-payment we

8      can't get it done by January 6th.       They have sent a bill saying

9      they are going to do it by the end of December.         They send email

10     and say:    The reason we can't do it January 6th is our erector.

11                 And then there is another email, I think, from Forde

12     Davis, and then one from Randall Davis, that talks about how

13     many days we have left to do the production and they are

14     counting out the days.     That's how February 17th gets set.

15     That's how April 6th gets set.       Nothing in there about the

16     problem is, we haven't been paid.       What am I missing?

17                 MR. DARR:   Well, I'm trying to remember all of the

18     emails right now, Your Honor.       I am glad to see the Court has

19     read all of them, or most of them apparently.         I don't recall

20     offhand whether or not it is expressly stated in any of the

21     emails that lack of payment was the issue.

22                 Generally, from what I recall, the emails from PRC's

23     accounting person, or bookkeeping person, Allison Taylor, she is

24     constantly complaining and raising issue with the lack of

25     payment all the way through as late as, I believe, late January
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1      of 2020.

2                  And without those emails, you know, there might be

3      some sort of issue of waiver or this isn't a big deal.          But we

4      are trying to perform, and we are still complaining about the

5      lack of payment the record shows at least through January of

6      2020.

7                  Now, again --

8                  THE COURT:    That's absolutely right.     There is stuff

9      going back and forth about how to pay and what the issue is, but

10     nothing that I have seen ties performance to the outstanding

11     bills.

12                 MR. DARR:    In the written record I would say the

13     closest we come --

14                 THE COURT:    What's in the testimony about it?          Anybody

15     on your side said:      I called and talked to them?

16                 Mr. Oelrich wrote a letter, very professional letter.

17     Exactly what should have happened.       Exactly what should have

18     happened.    You got this thing going sideways.       You've got Mr.

19     Crehore doing what he's doing.       You've got Forde Davis, who is

20     just ignoring -- not communicating back.        Not taking phone

21     calls.   And so what needs to happen in that situation is the top

22     dogs, the guys in charge, need to get on the phone and talk to

23     each other.    That's how we would not have been here.

24                 Mr. Oelrich writes a very professional letter to

25     Randall Davis:    What needs to happen?      What can we do?    And
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1      Randall Davis' very candid testimony:        My attitude got the best

2      of me.   And that's how this thing went sideways; isn't it?

3                 Whoever told Oelrich the problem is we are not getting

4      paid?

5                 MR. DARR:    I believe I heard testimony from Forde

6      Davis yesterday saying he had conversations with Crehore about

7      all the project issues, including the lack of timely payment.

8                 Now part of the problem, again, is that, you know,

9      admittedly Allison Taylor, the account person, was the one who

10     was primarily responsible for pushing that issue with Oelrich.

11                And, candidly, I think you're right, you know, the

12     principle and my client -- hopefully, you know, if I had been

13     involved, maybe would have called back Ivan and tried to work

14     something out with Mr. Oelrich.       But to say it's is a one-way

15     issue with regard to maybe some attitude kind of getting in the

16     way of getting this resolved pre-hand, I don't know if I agree

17     with that, Your Honor.     I think there is a little bit of doubt

18     on both sides probably.

19                THE COURT:    What evidence is there that anybody from

20     Oelrich ever, even once, failed to respond to an email or a

21     phone call?

22                MR. DARR:    Admittedly, they did what I love my clients

23     to do.   They did an A plus job of what I call papering the

24     project, which is every time you say something, you do

25     something, write it in an email because then that becomes, for
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1      better or worse, if someone doesn't respond, then everyone is

2      going to assume that's what happened.        Right?

3                  THE COURT:    Right.    And look, it's clear, they didn't

4      call back.    PRC didn't call back.      It's not just that Oelrich

5      documented it.    They testified to it.

6                  MR. DARR:    To that?

7                  THE COURT:    To the failing to return calls, failing to

8      respond, they -- PRC testified to it.

9                  On the other side, I am not asking about failing to

10     document.    Who testified?    What evidence is there at all --

11     testimony, written, emails, whatever -- what evidence is there

12     that there was ever a single occasion when PRC tried to

13     communicate with Oelrich and Oelrich failed to respond?              Anybody

14     who didn't take a phone call, didn't return a phone call, didn't

15     respond to email, ever?

16                 MR. DARR:    Well, right offhand I can think of

17     communications where Ms. Taylor, Allison Taylor, at PRC, was

18     asking about:    Hey, we are past due on these payment

19     applications.    Status update, basically.      And then radio

20     silence.

21                 And then she follows up again I believe two to three

22     weeks later, with Ms. Christina Sapp, saying:         Hey, never heard

23     back from you on these payment applications.          Where are we?

24                 Then suddenly we are getting a response and they write

25     back and say:    Oh, we need pictures and certificate of insurance
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1      before we can pay you.

2                 So there were some instances, at least, where there

3      wasn't a response, at least initially, with the initial

4      communication.    But, for me to sit here and say that Oelrich

5      wasn't generally responsive, that's not true.         I think generally

6      they were responsive to written communications.         And I don't

7      think that's part of our case at least -- and we're not saying

8      they weren't responsive enough.       I know that's essentially, in

9      my mind, their whole case, we were not responsive enough.

10                Now, under the contract I don't see anything that

11     requires us obviously to respond to every single email we get,

12     in particular when we have already communicated to you our

13     position on each issue; such as, let's talk about the safety

14     documents.

15                From the very beginning there is communications in the

16     exhibit list emails that were admitted where PRC -- I'm sorry --

17     where Oelrich is requesting the safety docs, but all of those

18     emails, all the way up to probably December of 2019, were

19     saying:   Before you arrive on the job site give us those safety

20     documents.

21                And we communicated at the very beginning -- the

22     middle of 2019, Mr. Davis did, that hey -- maybe towards the end

23     of 2019 -- we're going to get you the safety documents you need

24     before we arrive.     I can't remember the exact number of days.

25     It might have been 10 days before or 14.
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1                 THE COURT:    Nobody said you can bring them with you

2      when you show up.     There are repeated emails saying these folks

3      at the VA, they are going to want to see this stuff well ahead.

4      They like their time with the AHA and with the safety docs,

5      they've got to see them ahead of time.

6                 When that gets frantic is in December 2019, when the

7      date is scheduled for January the 6th, and we're coming up on

8      the date pretty quickly, and PRC is just not providing this

9      stuff.

10                I mean, that wasn't an unreasonable request, was it?

11     Get us your stuff?

12                MR. DARR:    I think it was unreasonable from the sense

13     that it wasn't necessarily possible because those safety

14     documents would have come from the erector, right?          PRC is not

15     an erection company.     They sub that work to their erector.         And

16     at that time, especially in December of 2019, the schedule had

17     been pushed out so far they didn't have an erector lined up that

18     they had originally had lined up in the summer of 2019.

19                Without that erector, and an agreed upon date by which

20     they were to start their installation, they couldn't give those

21     safety documents until they got an erector lined up.

22                THE COURT:    Let me ask you about that, one thing I

23     wasn't sure of in all of this; the safety certificates are

24     partly from the erector, and I take it that's a crane operator

25     and probably the crane operator doesn't show up alone so there
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1      is probably somebody else from the crane company.          Is somebody

2      from PRC going to be on-sight?       I take it, yes.    They are not

3      going to have their product just installed by an erector

4      company.   Aren't they going to have somebody on-sight?

5                 MR. DARR:    It's my understanding that the erector

6      company -- they would have a primary responsible guy that would

7      get the OSHA 30 hour, and then all the crew members would get

8      the OSHA 10 hour.     Little less strenuous.     But those people are,

9      for all intents and purposes, PRC, because it's subcontracted

10     through PRC.

11                Whether or not someone, any of Mr. Davis' over here or

12     someone who is actually employed by PRC would be there or not,

13     frankly, I don't know, Your Honor.       I don't think so.     I think

14     that that would be a responsibility that is contracted through

15     the erector.

16                THE COURT:    That would explain why I didn't see

17     anything in the record indicating that one way or the other.

18                I would have thought maybe somebody from PRC would

19     want to know if they dropped the panel, what happened, but maybe

20     not.   And things get subcontracted.      I understand.

21                MR. DARR:    Okay.

22                So we have established already there were plenty of

23     admissions that they have withheld retainage.         You have made

24     note of that, Your Honor, so I am not going to get into that.

25                With regards to the requirement for pictures and
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1      updated certificates of insurance being required before payment

2      was due, you know, I agree with you.        It seems to me that trying

3      to get pictures is a pretty reasonable request.         But I think

4      it's worth noting that; A, again, not required expressly under

5      the contract terms, payment terms to which PRC agreed, but also,

6      B, if you look at the timing of these requests, best I recall

7      the emails in evidence, the record reflects that these requests

8      for pictures and certificates of insurance frequently came after

9      the bills were already well past due.

10                And, you know, I am fortunate that I get to represent

11     a lot of people in the food chain of construction disputes and I

12     do know one game that is played by higher-tier contractors to

13     delay payment is to constantly ask for new things that they need

14     to have before they can pay you.

15                Now, if the pictures and certificates of insurance

16     were desperately needed before they could pay them on time,

17     PRC -- I would expect that request would have come a lot sooner.

18                Also, one of the contract terms in Note A says that --

19     to the extent that you object to something that is being billed

20     that should have been brought up within 10 days.          Whether or not

21     that is something that the certificates of insurance and

22     pictures not being included in the pay apps should have been

23     brought up within 10 days or not, I would argue, yes, based on

24     that contract term alone.

25                But, to me, it seems like a typical industry trick of
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1      the trade to request those documents after it's already past

2      due, past the net 30 days, as a way to further delay payment.

3                 In my mind, based on what I heard at the trial the

4      last two days, three days, is, again, I believe Oelrich was

5      operating as though their typical payment terms applied

6      including sort of this pay-if-paid provision where I don't have

7      to pay you until I get paid by the guy above me.

8                 And actually Ms. Christina Sapp testified essentially

9      to that when she said -- she testified that pay apps, I believe

10     it was 7 and 8 were not paid -- or were paid because we got paid

11     from the owner.    That's what she testified.       So I heard that.       I

12     should have -- candidly, I should have asked a follow-up

13     question on that when I crossed her.        But, when I was thinking

14     about my outline for this argument, which is not being used much

15     right now -- I realized --

16                THE COURT:    That's my fault.     I get it.

17                MR. DARR:    I don't even know why I do this sometimes.

18                But I realize though she was operating under the

19     assumption, one, she got to withhold retainage because that's

20     typically what you get to do.       That wasn't allowed here.

21                And, two, I don't have to pay them until I get paid

22     from above.    Also not applicable here, in my opinion, because

23     the payment terms were superceded by these Note A terms.

24                So I -- I believe that that's part of how we got to

25     where we are is this improper assumption that the typical
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1      payment terms applied.

2                  I would like to talk about this, you know -- no case

3      is without some work, probably wouldn't be here otherwise, at

4      least that's my opinion.      We keep talking about this hundred

5      percent billing issue.     It's less than ideal.      I think the

6      testimony reflected that my client's intent was to get payment

7      in time so that we want to know you guys are going to get caught

8      up on your bills, which again under the Note A payment terms

9      once you fall behind you got to correct the accounting to the

10     satisfaction of PRC.

11                 Obviously, there is limits on that discretion of, you

12     know, what is to the satisfaction of PRC, but here to the

13     satisfaction of PRC the intent was, we want to get paid -- all

14     of our past due bills paid.      And, now that we obviously see we

15     have issues getting timely payment from Oelrich we also want you

16     to pay for these panels now so we can get them going for you and

17     get them to you as soon as possible.

18                 And I heard Your Honor mentioning were they going to

19     be done by the end of December.       Frankly, I don't remember one

20     or the other what the testimony was on that.         But, I am not sure

21     it really matters in the sense that timely payment never came.

22     We couldn't even get our past due bills paid in December.            They

23     never paid, obviously, the hundred percent bill.          Never

24     happened.

25                 And in regard to that hundred percent billing issue, I
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1      thought what was really interesting about the Dana Noyes' visit,

2      in December of 2019, is I never heard him testify:          Hey, PRC, we

3      have got a concern.     You have billed one hundred percent for all

4      of these pieces, but before we pay you we want to make sure

5      there is a hundred percent of the pieces here.         I never heard

6      that come from Dana Noyes.

7                  Instead what I heard was, and what I heard from

8      Mr. Davis, was that it was a relatively friendly visit with

9      Mr. Noyes getting into the conference room, trying to get his

10     phone out to call up someone at Oelrich.        That didn't happen

11     because for whatever reason Mr. Davis didn't want to have a

12     conference call at that point.       He said:   Can you show me our

13     product.    He goes and shows him the product.       Takes some

14     pictures.    And that was that.

15                 Now what I didn't hear from anyone testify is that

16     Mr. Noyes asked:    We have got a real issue.       There is a hundred

17     percent billed.    I need to see all one hundred percent of the

18     pieces.    Now, if he had said that I'm sure Mr. Davis probably

19     would have said:    We don't have a hundred percent done.            But

20     here is every single piece we do have done.         I don't know

21     because the testimony doesn't reflect that that ever happened.

22                 Also, with regard to this hundred percent billing

23     issue, and Oelrich, I guess, seemingly believing that a hundred

24     percent was done at that point, we have to talk about Chris

25     Crehore's visit to PRC in January of 2020.
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1                  I recall Mr. Crehore's testimony being that, I met

2      with Forde and, essentially, I want to see if you guys are

3      serious about finishing this project.        And Forde said he was.

4                  Now what I didn't hear was Mr. Crehore testify that:

5      Hey, you guys billed a hundred percent of the panels.          I want to

6      see them now.    I didn't hear him testify that he asked to count

7      or see any of the panels.        If that was such a real issue, to me

8      it makes common sense that he would have already asked, I'm

9      already up here in Greenville.        Can you guys just show me the

10     panels?    Where are one hundred percent of the panels?        Where are

11     any of the panels?      I didn't hear him testify at all that he

12     asked that.    Why wouldn't he ask that if that was a real issue?

13     I don't know.    To me it's because it wasn't a real issue at that

14     point.    I believe that's indicative that Mr. Davis -- Forde

15     Davis -- and Mr. Crehore had already been talking about this

16     issue, trying to work it out.

17                 THE COURT:    Well, Mr. Crehore did say that Forde Davis

18     told him that they were going to finish the panels.          So, there

19     wasn't any need to ask:      Have you finished all the panels?        I

20     mean, obviously, he hadn't finished the panels.         He said that

21     was something he was going to do.

22                 MR. DARR:    Sure.    So, I mean, that's indicative of

23     them already knowing a hundred percent of the panels weren't

24     done at that point.

25                 THE COURT:    Sure.    They knew that hundred percent
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1      weren't done.    Absolutely.

2                  MR. DARR:    And I feel as though --

3                  THE COURT:    Because Mr. Noyes had already been there.

4                  MR. DARR:    That's right.   And he came to the

5      conclusion, in his mind, that there were only 51 percent done.

6      But it wasn't clear to him whether or not he had seen all the

7      panels.   He did admit that as well.      Because again there was no

8      testimony that he said this hundred percent billing in December

9      of 2019 was a real issue.

10                 As to that prior material breach, Your Honor, I

11     believe that Oelrich fail -- entirely failed to live up to their

12     end of the bargain with regard to these Note A terms.          I don't

13     know if it was intentional or not.       I did hear testimony from

14     Ms. Sapp, the retainage was not a non-intentional issue.             They

15     didn't mean to.    They were just used to it.

16                 I am sure that -- most of my high-tier clients, they

17     have got their contract and most of them don't allow their

18     contracts to be amended.      They just say take it or leave it.           We

19     didn't have that here.      And it sounds like either there was a

20     mistaken assumption their typical payment terms applied, or they

21     just misunderstood their contract, but those terms were violated

22     and I believe that was the first material breach of the

23     contract.

24                 THE COURT:    Look, obviously, they didn't communicate

25     this downstream well enough to their accounts payable person.
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1                 This one is different.      The payment terms here are

2      different.    And, of course, it had probably been a long time

3      between when the contract got entered and when the first pay

4      request came in.    For whatever reason it got handled wrong.          I

5      mean, no question about it.

6                 I'm right, aren't I, that if PRC did not stop

7      production on this basis -- didn't terminate, didn't say we are

8      not going forward, didn't do anything about the non-payment

9      other than saying you need to pay us -- if that's all correct,

10     then PRC was still obligated to perform under the contract.

11     True?

12                MR. DARR:    I want to make sure I understand the

13     question, Your Honor.     So if they didn't -- can you say it

14     again?   I'm sorry.

15                THE COURT:    Yeah.   It wasn't my best question.

16                MR. DARR:    I didn't say that.

17                THE COURT:    Let's -- no, I did.

18                MR. DARR:    Okay.

19                THE COURT:    If you had you would have been right.

20                Let's see if we can get it out of the weeds here a

21     little bit and just deal with it hypothetically.

22                So totally hypothetical situation; we have a general

23     and a sub and the general says:       Before you start on the project

24     you have to have your safety certificate in.         It's a really big

25     deal to us.    We may not get paid by the owner unless we do all
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1      of this.    It's absolutely critical.      We mean it.    You got to

2      have your certificate in before you start.         And sub doesn't get

3      the certificate in.      Goes to work.

4                  And then general says:     Well, I don't have to pay you.

5      You're terminated.      We are going to bring somebody else in

6      because you didn't get your certificate in.         And the sub has

7      already done 90 percent of the work.        And the sub says:        Wait, I

8      have done 90 percent of the work.        Pay me.   Who wins that

9      lawsuit?

10                 MR. DARR:    Well, there is a lot to unravel there.

11     First thing that jumps out to me is, how was the termination

12     executed?    In other words --

13                 THE COURT:    Always -- you know, the first response to

14     every hypothetical I ask is, bad hypothetical.         Probably is.

15     I'm trying to cut all of that stuff out of it.

16                 The point is, if you went forward with the contract,

17     despite the failure to get the certificate in, and you did 90

18     percent -- or for that matter, a hundred percent of the work --

19     change it and say, they didn't get the certificate.          They do all

20     the work.    They say, pay me, and the general says:        No, no, no.

21     You didn't turn in your certificate.        Material breach.    Not

22     paying you.

23                 MR. DARR:    Well, you might -- I don't know if you are

24     getting at this but in my mind you might have a waiver issue

25     there then.
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1                 THE COURT:    Absolutely, you do.     Of course, you do.

2                 MR. DARR:    Performance.

3                 THE COURT:    You -- and change it around.       Instead of

4      the certificate, you fail to do something and it cost the

5      general some money.     Maybe the general had to go out and get the

6      project inspected when the sub was supposed to do it.          So the

7      general can still recover damages for not getting the --

8      whatever they had to do to get the inspection done.          But, the

9      sub gets paid for the work because the work went forward.            The

10     point is, when there was a breach, first breach, and the other

11     party chooses not to call it off but to go forward the contract

12     is still in effect.     Both sides still have to perform, right?           I

13     mean, this is basic contract law.

14                MR. DARR:    Yes.    And I was concerned about a waiver,

15     potential waiver issue here, on behalf of my client maybe

16     through performance.     But to me the distinction is -- I can't

17     remember the case offhand but there is Florida law, state court

18     appellate decision, that says despite continued performance as

19     long as you are still raising and objecting to the issue while

20     you are doing it that's not a waiver.

21                THE COURT:    It's not a waiver.     They are still

22     entitled to be paid.     They have not waived the right to be paid.

23                MR. DARR:    Sure.

24                THE COURT:    But they have gone forward with the

25     contract and so they have waived the right to say the contract
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1      is over.    They still have to perform.      That's true, isn't it?

2                  MR. DARR:    Yeah.   I don't -- PRC never terminated this

3      contract.

4                  THE COURT:    And so -- and so they were still obligated

5      to make the product, deliver it, install it at a reasonable time

6      they agreed to.    True?

7                  MR. DARR:    Yes.

8                  THE COURT:    And they had to be reasonable in agreeing

9      to a time.    That's kind of the implied covenant of good faith.

10     And implied in the condition that it will be done at a date that

11     both sides agree to.      It's at least an implied term that both

12     sides won't unreasonably withhold their agreement.          They will be

13     reasonable in picking a date.       True?

14                 MR. DARR:    Yes.

15                 THE COURT:    So assume for me the facts are -- I know

16     you disagree with this, or you may disagree with this -- assume

17     the facts are PRC said, February 17th.        That's our date.       And

18     Oelrich said, okay.      And then PRC didn't do it.     PRC has now

19     breached and Oelrich can enforce, take action, recover, whatever

20     the appropriate remedy is, based on the breach.         True?

21                 MR. DARR:    Under that hypothetical, if there is

22     evidence that it was a mutually agreed that was the drop-dead

23     deadline, yeah, I think you are probably right.

24                 THE COURT:    Even though there is -- the retainage

25     hadn't been paid and there is this other problem, but they went
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1      forward.    That's my point.    Even though there is this other

2      prior breach, PRC has elected to go forward with the contract

3      and it has to perform.     Then that gets us to the factual

4      question.    Did PRC agree to February 17th?       And, frankly, I

5      think the record is they chose that date.        And there is an email

6      where Forde Davis says February 17th.        Isn't that right?

7                  MR. DARR:   Well, respectfully, I don't agree with that

8      reading of the emails, Your Honor.       I saw the emails as -- we

9      will start with the first date, the Randall Davis email in late

10     December of 2019; we anticipate we can start this date.              I don't

11     know the exact date he said.      Maybe that was the February 15th

12     date.   But to me, saying we anticipate that date or we project

13     that date is a lot different than saying, we are going to meet

14     this date come heck or high-water, that's it.         We are a hundred

15     percent going to make it.      We are in agreement that this is our

16     deadline.    That's not how I read that email.

17                 I know when I make promises to clients, and I'm not

18     sure whether I can get a motion done by Friday but I am going to

19     try, I say I am hopeful I'm going to get the motion done.             If I

20     say I am going to get it done by Friday, I am going to get it

21     done by Friday.

22                 I don't read that email as saying that at all.           I read

23     it in particular in context of the other emails that are going

24     back and forth between the parties and communications, which is:

25     Hey, we are still working to get to this as soon as we can.
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1      There is emails in late December of Forde Davis telling them, we

2      don't have an erector yet.      So that causes an issue as to

3      whether or not we can make this happen on any time frame you are

4      happy with.

5                  They keep working at it.     Then they get to -- even the

6      April 6th targeted date.      I haven't seen any record evidence, in

7      my mind, showing that that was a drop-dead deadline agreed by

8      both parties, especially under the threat of termination.

9                  THE COURT:   It wasn't under threat of termination, but

10     I am looking at Plaintiff's Exhibit 14, which is the

11     January 2nd -- I'm sorry -- December 31st email.          It's from

12     Randall Davis and it's addressed to Dana Noyes, but, of course,

13     it went to Mr. Oelrich because Mr. Oelrich is getting emails to

14     that box.

15                 And Mr. Davis says:     According to our current

16     production schedule, and when you guys contacted us about

17     rescheduling this project, November 2019, we anticipate a start

18     erection date of February 17, 2020.       This date is based on

19     remaining production.     We are sure this is not the ideal

20     schedule for you; however, this is where we are based on other

21     projects in the system.

22                 So, Mr. Davis says:     We got other work.     Based on

23     where we are, February 17.      We understand you had an erector

24     available.    Forward us the contact information.       Well, it turns

25     out their erector -- Oelrich's erector wasn't available anymore
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1      because the date moved, but they went back to PRC and they got

2      back working with their erector.       So the erector wasn't the

3      problem.    But that's them saying February 17.       And then they

4      don't communicate.      They don't say, we are not going to be able

5      to do it.    They just don't do it.

6                  MR. DARR:    Well, I do think there are some

7      communications, again, in that late December to early January

8      time period where Forde -- Mr. Forde Davis was in communication

9      with Mr. Crehore about the issue with getting the erector.            And

10     still, in my mind, in context, putting it -- making it maybe not

11     crystal clear, but at least pretty clear, that they are still

12     trying to work to get all the pieces together to get it out

13     there ASAP.

14                 That's how I read the emails.      The goal was to get it

15     out there as soon as possible.       There was no line in the sand

16     deadline.    I didn't see any emails from Oelrich saying -- and I

17     know, I am feeling like you are not enjoying my improper

18     termination argument, but to me I am a construction lawyer, it's

19     important termination be done properly.        I haven't seen any

20     emails from Oelrich coming back saying:        We are a hundred

21     percent relying on your February 17th deadline.         We need it by

22     then.   If you don't deliver by then, we might terminate your

23     contract.

24                 THE COURT:    And they didn't.    They didn't terminate

25     the contract.    PRC missed January 6th, despite letters saying
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1      this has to happen.      They missed February 17th, with not much

2      communication.    At their calculation it got pushed back to

3      April 6th.    But then on March 17th, Mr. Davis told Mr. Crehore:

4      This is not going to happen.      We are not producing anything.

5                  So despite having said:     Based on current schedule, we

6      will be done by February 17, now it's a month later, March 17,

7      they have done nothing.      We haven't done it.     We're not going to

8      tell you when we're going to do it.       That's pretty clearly a

9      material breach.    They're not talking about how to schedule

10     this.   They are basically saying:      Go pound salt.

11                 And I did look back at the transcript and Mr. Crehore

12     had said:    Okay, I am terminating you.      Told him that.    And then

13     sent him an email and said it.       And, Mr. Davis admits that he

14     read the email, or at least read part of the email.          It's a very

15     short email.    And it says very clearly:      You are terminated.

16     Still quiet.

17                 Now, explain that to me.

18                 MR. DARR:    Well, again, I don't view any of those

19     deadlines that we talked about as what I keep calling drop-dead

20     dates to complete the work.

21                 THE COURT:    But, what should he have done on

22     March 17th?    He has been told by the guy running the project:            I

23     haven't done anything even though we told you we did.          I'm not

24     going to be ready for the date, the third rescheduled date --

25     the second one, that we picked, basically.         Not going to be able
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1      to do it and I am not going to tell you when I can do it.            What

2      would a letter, written by the lawyer and doing a better job of

3      dotting I's and crossing T's, what difference would it have

4      made?

5                 MR. DARR:    These termination cases are becoming more

6      frequent, but in my mind all the difference in the world, Your

7      Honor.

8                  Now, again as a great example of a very good cure

9      notice, in my mind, is that cure notice that SAW sent to

10     Oelrich.    It's great.   It's says:    We think you are in breach

11     because you are causing a delay to the project, potentially.

12     You are -- we are going to -- we might terminate under this

13     clause of your contract.      And here is what you need to do to

14     cure.    One, two.   And if you don't do that within so many days

15     we may terminate your contract.       It's a good example.     Puts them

16     clearly on notice.     I call it a shot across the bow.       We are

17     serious.    We are not in day-to-day trying to work this out.          Do

18     it ASAP anymore.     We are in dire straits.     So, when you get that

19     shot across the bow that's usually when I get the call from the

20     other guy who is getting the shot across the bow.          Here, that

21     never happened.

22                 In PRC's mind, they are just working in good faith

23     trying to make it happen.      I understand that they anticipated

24     that date.    They were hopeful for this date.       But it didn't

25     happen.    So, what should -- what would I have advised Oelrich to
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1      do, if they had come to me at that point?        I would have said we

2      need to send them a formal letter saying:        We need this by X

3      date.   If you're not starting by that date we may terminate your

4      contract pursuant to whatever clause of our subcontract

5      agreement.    And if you do not provide assurances within so many

6      days you can do it by that date, again, we might terminate your

7      contract.

8                  That's how you get a sub on notice that this is not

9      just trying to work it out, typical -- construction projects,

10     there are constant dispute, including whether things are timely

11     or not going on all the time.       You're not going fast enough.

12     Well, let me explain why.      And people are always going back and

13     forth with communications.      And the way you get someone's

14     attention is by clearly saying:       This is serious.     You are in

15     breach.   We are really considering terminating your contract.

16     You don't have to say you are going to.        Just we might.

17     Expressly state that.

18                 THE COURT:   Look, that would have been good.       And, Mr.

19     Oelrich could have done that back when he wrote the letter and

20     said, instead of the stick he tried to use the carrot.          It

21     didn't work.    And I get it.

22                 Look, it's a hard decision Mr. Oelrich had back on

23     January 12th, when it's clear this thing is off the track.            Do I

24     have the lawyer send him a threatening letter, or do I reach out

25     and try to be nice and work it out?       He tried to be nice and
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1      work it out.    Frankly, that's usually the better approach.

2      Lawyers are expensive.     And you start threatening people usually

3      it hardens position instead of -- but, anyway he didn't do it.

4      And, yes, on March 17th they could have written the letter that

5      you described.

6                 Take me back to the contract and tell me what in the

7      contract required what you are talking about.         I think it

8      requires 24 hours' notice of termination.        I don't know that

9      there is anything in there that requires any of the rest of the

10     stuff you're talking about.      Find the opportunity to cure

11     provision.

12                MR. DARR:    It is -- we can pull it up, but I think you

13     are generally right.     I think it's paragraph 7 of the

14     subcontract.    The express requirement is, as you stated, is that

15     they give 24 hours' notice.      It's pretty minimum in terms of

16     express contractual obligations.

17                Now, we can start with that first.        Obviously, you

18     know, in my motion for summary judgment I had this issue.            I

19     don't believe it's just 24 hours.       Might be under the contract.

20     I think there are a heck of a lot of cases that have concluded

21     that there is more than just what's required in the contract.

22     There is a certain minimum threshold, so to speak, under

23     construction common law.      Again, admittedly, Florida appellate

24     court decisions are exceedingly rare now for substantive

25     construction law decisions so it's sort of unchartered territory
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1      in our state.    But, let's start with the 24 hours' notice.

2                  So at trial there were only, in my mind, three pieces

3      of testimony regarding any sort of notice to PRC that they might

4      have their contract terminated.       All three of those pieces of

5      evidence came from Mr. Crehore during his testimony.

6                  Now, one of them was that he told Forde Davis on

7      March 17, 2020, the same date as the letter -- the email, the

8      termination notice: Hey -- he is not even saying you guys might

9      be terminated -- I am terminating your contract because I'm fed

10     up, basically.    We're not meeting any of these deadlines that we

11     perceive as deadlines.     It's done.    Is that compliant even with

12     the 24 hours' notice requirement?       No, because they got

13     terminated on the same day as that alleged phone call that

14     occurred.    If it occurred.

15                 Number two, he testified that there was a meeting with

16     Forde Davis at PRC's facility in January of 2020.          And he said

17     that he had brought up termination.       That's his testimony.

18     Mr. Davis disagreed in his testimony.

19                 I will also point out that I tried to make the point,

20     when I was questioning Mr. Crehore, that he did what I would

21     call a fantastic job of basically sending an email whenever he

22     had a call, or a discussion, or lack thereof, with PRC folks

23     saying:   I called you.    We discussed this.      I understand we are

24     going to be doing this.      Great job documenting what his call

25     was.   Notably absent on probably the most important decision he
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1      made with regards to this lawsuit was him supposedly informing

2      Forde Davis that their contract might be terminated.

3                 He admitted, when I asked him, termination is a

4      serious deal in construction.       It is the most drastic sanction

5      that you can select out of your arsenal as the upper tier

6      contractor.

7                 Certainly, you would think, especially in light of the

8      history of Mr. Crehore and others from Oelrich documenting their

9      conversations with PRC, there would be an email where he says:

10     Hey, you know, thanks for meeting with me today.          I understand

11     that you guys are trying to meet this date.         And as we discussed

12     we might have to terminate your contract if you don't meet that

13     date.

14                It's not in the record.      I find that highly suspect.

15     And also I would like to point out I believe that during that

16     piece of testimony, when he was finished after

17     cross-examination, Your Honor asked him:        Let me ask you, Mr.

18     Crehore, during that discussion did you ever mention anything

19     about a deadline that they had to adhere to.         And I'll give it

20     to Mr. Crehore; I thought for sure he was going to say:              Yes, I

21     did.    But he admitted he didn't.     He didn't say anything about a

22     deadline during that meeting.

23                So I find it highly unlikely he actually told Forde

24     you may be terminated, but we certainly know he didn't say:             You

25     will be terminated if you don't meet a specific date.
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1                 The third thing he said in terms of notice was through

2      an email; he told them, you may be terminated if you don't step

3      up basically.    I said, will we see that during the trial?          He

4      said, I am sure you will.      I know he is not the lawyer and he

5      doesn't decide what emails are put up, but I don't recall ever

6      seeing that email during the trial.

7                 I don't recall ever seeing it during my review of all

8      the emails in this case.      If there was an email where they had

9      said:   Step up and meet this date or you may be terminated, I

10     don't think we would be here because that's one of the arguments

11     that's completely gone regarding wrongful termination.          They

12     gave you a warning.

13                So, even with regard to the 24 hour notice, the only

14     thing they have is notice on the same day he testified about,

15     which, again, wasn't documented in an email.         Regardless it

16     happened on the same day they terminated them.         We have all

17     admitted that that email, March 17, 2020, that was the

18     termination.    It's done.    Finito.   You've been terminated.

19                That call, that day, even if it did happen saying we

20     might terminate you, that's not 24 hours' notice.          It's not a

21     whole lot to answer for.      The contract, obviously, was slanted

22     in their favor.    That was one of the provisions; they couldn't

23     give us 24 hours' notice.

24                Now, as to the other issues I'm bringing out about

25     setting a clear deadline; the contract, best I can tell, did not
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1      require that.    You are correct, Your Honor.       That's not in the

2      contract.   But it's a fundamental principal of construction law

3      that to terminate a party for a purported material breach you've

4      got to give them notice and opportunity to cure the breach,

5      assuming the breach is curable.       I mentioned in my opening some

6      breaches aren't curable.      One is, if you have got a deadline

7      that is in your contract, and you fail to meet it, and it gets

8      to be two weeks past it, you've blown it.        At that point, they

9      can terminate.

10                 THE COURT:    Why isn't that the situation?      January 6th

11     was the date.    They missed it.     Opportunity to cure?     Sure.

12     Let's set a new date.      What works?    PRC says, February 17th.

13     Okay.   They missed it.

14                 Opportunity to cure?     Yeah.   What -- all right.      You

15     missed that date.     What do you need?      April 6th.   And then it

16     comes around to March 17th and it turns out they hadn't done

17     anything, they aren't doing anything, they can't give you a date

18     when they are going to do anything.        And they say, okay, you had

19     two more chances.     That's enough.     What's wrong with that?

20                 MR. DARR:    Well, again to me -- and I hate to keep

21     saying this cliche' phrase, but the shot across the bow moment.

22     Merely getting into this day-to-day -- I think in my motion for

23     partial summary judgment I have cited authority that says

24     day-to-day correspondence, trying to work things out

25     essentially, does not constitute proper notice and an
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1      opportunity to cure.

2                 I get it.    To Mr. Oelrich's credit and his company's

3      credit, I think that they were trying to work it out.          Every

4      contractor knows it's always better to get it done with the guy

5      you hate than the next guy.      It's going to cost a lot more with

6      the next guy.    But, the problem is at some point you have to go

7      from trying to work it out in good faith to line in the sand;

8      here it is, if you don't meet this date, termination is on the

9      line.   We are dead serious.     Good faith negotiations aren't

10     working out anymore.     Meet it or you might be terminated.          That

11     puts a guy on notice.     I've really got to step up.       And then --

12                THE COURT:    And that really is -- I mean, that's the

13     crux of this.    It pretty much comes down to your assertion that

14     without the shot across the bow you couldn't terminate.              And

15     it's not in the contract but you say the common law of

16     construction litigation, you got to give them the shot across

17     the bow.

18                MR. DARR:    So, it's probably apparent at this point,

19     I'm not a trial lawyer.      These cases rarely go to trial.

20                THE COURT:    I think you've done a great job as a trial

21     lawyer.

22                MR. DARR:    I will defend that one later, but anyway --

23     I guess my point is, I am just trying to say this is a

24     fundamental principle of construction law.         At some point you

25     got to switch from being the nice guy, trying to work it out --
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1      because to some degree, to the guy who draws a line in the sand,

2      because when you are just trying to work it out, these guys, as

3      far as they know, we are just trying to figure out when we can

4      get this done.    Once that line in the sand is drawn that's

5      usually when I get the call; we are under threat of termination.

6      What should we do?

7                 At that point, that's when we get a chance to step up

8      and say:   Hey, we can't deliver until this date because,

9      whatever reason -- COVID-19, whatever -- two production slots

10     are ahead of you.     We can give you a drop deadline of this.

11     They either buy the excuses or they don't.         The guy who sends

12     the cure notice.    Maybe they say, you know what, COVID-19 is not

13     an excuse.    You guys moved on to other jobs.       That's not our

14     problem.

15                THE COURT:    In fairness, nobody ever said COVID-19.

16     He said he had a flu, had another job, been out all week, and

17     these problems -- by March 17th, COVID was just becoming a

18     thing.   But when they missed the day on January 6th, and they

19     missed the day on February 17th, unless they were in Ruhan,

20     COVID-19 wasn't a problem.

21                MR. DARR:    Those are before COVID.      I even hate to

22     bring it up -- I'm not really -- that's not the thrust of what I

23     am getting at.    I am saying hypothetically, if that notice had

24     come during that time, that might have been something we would

25     have said in response.
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1                  Now, I have to say this also, it's not just about

2      giving a chance to cure.      That notice is also critical because

3      it gives us a chance to mitigate our damages.         You get that sort

4      of notice and maybe -- I don't know.        Maybe Mr. Davis, or one of

5      them, reads it and says:      Oh, wow.    They are really serious, and

6      we can't meet their drop dead deadline.        Well, let's -- maybe at

7      a minimum we can try to get them what we've already made.

8                  THE COURT:    Absolutely.    That's an important point.

9      But why isn't the answer to that, if they were going to do that

10     in response to a nasty letter -- a shot across the bow -- why

11     didn't they do it in response to the termination letter that

12     said it in black and white:      You are terminated.      And they had

13     the letter.    And Mr. Davis, Sr. knew about the letter from Mr.

14     Oelrich.    I am trying to figure out why in the world didn't

15     somebody pick up the telephone and call Mr. Oelrich and say:

16     This has gone sideways, but we've got a lot of material here on

17     the yard.    You at least need to use it.      Why didn't anybody do

18     that?

19                 MR. DARR:    That's a good point, Your Honor.      And, you

20     know, one of the issues, when I first got this case is, I wish

21     you guys had seen the email, you know.        The reality is, as the

22     testimony reflected, it wasn't seen in full until May-ish of

23     2020.   By that time --

24                 THE COURT:    Why didn't they make the call in May?

25                 MR. DARR:    The contract had already been terminated.
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1      In their mind, it was done.       It was said and done.

2                 THE COURT:    But, Spring hadn't put a shovel in the

3      ground or put a bit of material in the cast.

4                 MR. DARR:    I gotcha.     We didn't know one way or the

5      other whether that had happened.

6                 I will say this, the evidence -- all the written

7      record I have seen -- as soon as March 17th happens, Mr. Crehore

8      didn't try to reach out to anyone.          You know:   Did you guys get

9      that termination notice?       They just let it go.     They were done.

10     Admittedly, I guess, at that point maybe the parties were both

11     fed up with each other.      I really can't explain that.      I don't

12     know why they didn't reach out to confirm receipt.          I don't even

13     know why that termination notice was sent in an email.

14                THE COURT:    But if the truth is, if they had sent by

15     an email with a receipt to the email, as you can do, they would

16     have gotten a receipt confirming delivery.

17                MR. DARR:    I didn't see that in the record, if it is

18     there.

19                THE COURT:    No.    No.   No.    They didn't do it.      But if

20     they had, they would have gotten a confirmation of delivery.

21     Because Forde Davis' own testimony is:         I saw the email.      I

22     opened it.    I read it in part.      I just didn't think it was a big

23     deal.

24                What's wrong with this analysis:        Mr. Davis saw it.

25     It was pretty darn serious.       It says terminated.     But he did
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1      kind of what he had done through the whole deal, he blew it off.

2      Is that not a reasonable view of the evidence?

3                 MR. DARR:     I hate disagreeing with you, but I don't

4      think so, Your Honor, because to me the reason you can tell he

5      didn't see that part of the email is because, as reflected in

6      the evidence, and our discovery responses, they kept producing

7      precast.    They would not keep wasting their own money making

8      this product for Oelrich if they had seen it.         They didn't blow

9      it off.

10                THE COURT:     Oh, if he just blew it off and thought, I

11     don't care what they say.      We are going to do it our way.        If

12     that was his approach he would do just what he did.          If he just

13     saw it and didn't think, no big deal.        Just keep marching.      We

14     will do it when we are good and ready.        They wanted it in

15     January, February or April.      We are not doing it.      We are not

16     telling you when we are going to do it.        When we get around to

17     it we will do it and I don't care what they say in the meantime.

18                MR. DARR:     I genuinely don't think that was attitude.

19     I think the attitude was we are trying to get to it as fast as

20     we can, given the production schedule we have going on.

21                Also, I hate to keep saying the COVID word, but there

22     was some impact at that point on the rate of productivity that

23     they could achieve.

24                 THE COURT:    By that time, COVID is up and going.        I

25     got it.    But there is not a single communication -- and if PRC
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1      is really -- thinks the contract is still there, they intend to

2      perform, they are operating in good faith, why in the world did

3      they not even communicate any further with Oelrich about when we

4      will get to it, they are not going to get to it by April 6th,

5      the date that was set at their urging.        They don't suggest

6      additional dates.     They don't get back in touch and say, we

7      finally cleared out the underbrush.         They don't say we have had

8      a COVID issue.    They don't say May, June, July.       They don't say

9      anything.   Why is that consistent with your view of the

10     evidence, and not with the suggestion that he just blew it off?

11                 MR. DARR:    Because -- well, keep in mind, there was no

12     communications in the record between either of the parties at

13     that point.    The last written email we have between them is

14     March 17th.    Now, there is no email from Oelrich saying:           Hey,

15     where are we?    We got April 6th.       That never happened.

16                 THE COURT:    No.    No.   The reason there is no

17     communication from Oelrich is because they have put an end to

18     it.   March 17th they wrote the last letter.

19                 MR. DARR:    Sure.

20                 THE COURT:    So on their understanding that was the

21     last communication.      What you're saying is, Oh, but PRC didn't

22     know it.    They didn't read it.       They didn't know it.   So, from

23     PRC's standpoint there would be every reason to communicate and

24     there is nothing.     So I guess my suggestion is the lack of any

25     communication is consistent with the view that Oelrich sent a
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1      termination notice and Forde Davis knew it.

2                  MR. DARR:    That's not the inference I would draw from

3      it, obviously, Your Honor.       I think it was more they are doing

4      the best they can to get the product going.         The record reflects

5      they did get the product going.        They were trying.    Did they

6      send an email saying:      We are sorry, April 6th can't happen.            We

7      are cranking right now.      We are trying to get it going.          That

8      doesn't exist.    I wish it did.

9                  The only place we've got beat in this case is

10     Oelrich's ability to paper the project.        That's a great thing.

11     My guys didn't do a good job papering the project.          I wish they

12     had sent more emails confirming things that were going on in

13     realtime.

14                 THE COURT:    Do we know when they actually started back

15     up production?

16                 MR. DARR:    Yes.   If you give me one second I can tell

17     you.

18                 THE COURT:    All right.

19                 MR. DARR:    It was March of 2020.     They made 12 pieces

20     in March of 2020.

21                 THE COURT:    And how do I know that?     That's in your

22     interrogatory answer?

23                 MR. DARR:    Correct.   And there are also -- just to

24     clarify something that is semi related -- there is also pictures

25     in the exhibit list that were admitted due to our stipulation
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1      earlier before we started the trial, that are time-stamped

2      showing the product after the date of termination.          I think it's

3      in May of 2020, something like that.

4                 THE COURT:    So there is documentation that it was done

5      in May of 2020.

6                 MR. DARR:    Uh-huh.

7                 THE COURT:    My skepticism, and of course the other

8      side says no reason to think it happened in March.          Here is the

9      skepticism about it happening in March.        On March 17, there is

10     this conversation between Forde Davis and Mr. Crehore where Mr.

11     Crehore says:    We are not producing it.      And we can't tell you

12     when we are going to start producing it.        And it is confirmed in

13     the email.

14                So we've March 17th confirmation of Forde Davis

15     saying:   We are not doing it and we can't give you a date when

16     we are going to start.     And then you turn around and say:         Yeah,

17     we did 20 pieces in the last 14 days of March.

18                Does that make any sense?

19                MR. DARR:    Well, based on that record, they weren't on

20     schedule to meet that April 5th deadline.        I would agree with

21     you there.    But, again, that is -- that's when in -- frankly, I

22     think the shot across the bow could have come a lot earlier.

23     Probably January of 2020.      That's what I would have advised them

24     to give a drop dead deadline.

25                THE COURT:    Should have discussed the stick not a
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1      carrot.   The carrot didn't work.

2                 MR. DARR:    You know, it's an escalation issue.          My

3      advise, my lawyer advise is, frankly, very rarely consistent

4      with the business perspective of my clients.         They want to make

5      money and keep good relationships.       They don't want us involved.

6      So, frequently I advise you escalate.        You start with the

7      carrot, but eventually the whip's gotta come out.          You gotta put

8      that line in the sand.     I don't want to sound like a broken

9      record.

10                THE COURT:    And you do, but only if in hindsight you

11     look back and say the carrot didn't work.        But for everyone that

12     breaks down and winds up in a lawsuit, where everybody loses no

13     matter who wins the lawsuit -- I mean, this is bad for

14     everybody.    You have two CEOs, two very able people with good

15     companies, with good work to do, and they have spent three days

16     sitting in a federal courtroom.       This is not good for anybody.

17                And so the best outcome, back on January 12th, when

18     Mr. Oelrich wrote his letter, was not to escalate things but to

19     work it out.    So, yeah; in hindsight for the lawsuit it may be

20     better to do the shot across the bow.        But, if the real goal is

21     to not get in a lawsuit, and get the project back on track, then

22     it's just somebody's judgment.       Is it better to be nasty or is

23     it better to be nice?     And, anybody that's raised teenagers

24     knows there is no clear answer to that question.          It may be one

25     way, it may be the other.      You just make your best judgment.
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1                  MR. DARR:    I think the shot across the bow can

2      actually cut off lawsuits as well because --

3                  THE COURT:    It can.

4                  MR. DARR:    -- if that had happened, I definitely would

5      have recommended we would, at a minimum, get their product to

6      the project site, which could have been matched, according to

7      the expert testimony of Mr. Davis, to whatever the next guy did.

8                  I didn't understand that, and I talked to my client

9      last night, but when you match up that product you can put

10     Mr. Davis' product here, PRC's, and next guy's at the corner,

11     and when you have them at a corner like that it's much easier to

12     make them look matching because of the way the light hits.            You

13     look at the corner of something -- getting in the weeds a little

14     bit.    But, my point is that, that would have been an option.

15                 Unfortunately, without that clear warning of a great

16     cure notice showing what you need to do to step up we were never

17     given that chance.      And, unfortunately, now we're here in this

18     lawsuit.

19                 Had it been sent, you are right, I don't know what

20     would have happened.      Maybe my client would have said, pound

21     sand.    But they probably would have also considered giving them

22     the product that had already been made.

23                 THE COURT:    What legal authority, if any, can you

24     point me to on the question of whose burden it was, or is, to

25     prevail on the match issue?
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1                  MR. DARR:    On the matching of the precast?

2                  THE COURT:    Whether it -- whether you could have

3      matched the PRC production to Spring production.          So that's a

4      question.    And you are right, you have Mr. Davis' testimony:

5      Sure, we do it.    It can be done.

6                  You have got Mr. Oelrich; not his area of expertise --

7      and, of course, one thing very much in your favor is they filed

8      a replevin lawsuit.      So at some point somebody thought this was

9      valuable product, but leave aside the factual question.              The

10     record is where it is.      It's not great.    Both sides probably

11     could have spent a lot more money and brought in some experts on

12     this, independent experts and we could have gotten opinions.

13     The record is where it is factually.

14                 Here is my question:     Whose burden is it to establish

15     that matching is feasible or not feasible?

16                 MR. DARR:    Boy, my first reaction is I'd like to look

17     into it in a little more detail, Your Honor.         But, in my mind, I

18     guess it would be -- you are probably going to hold me to it.

19     Again, I'd like to do a little more research on it.          But, would

20     a failure to mitigate affirmative defense, maybe that would be

21     on us to prove by a preponderance of the evidence, which even if

22     that were the case -- I'm not sure -- I think we've met it

23     because we have the only expert testimony in the case saying,

24     yes, it could have been matched.       Not a problem.

25                 No expert testimony over here.      Not one designated
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1      expert witness in their 26 disclosures.        No hybrid fact expert

2      witness.

3                 And even if they had designated someone as a hybrid

4      fact expert witness, such as Mr. Oelrich, he readily admitted

5      he's not a precast expert.       They are just construction managers.

6      They just manage projects.

7                 So even if it is a preponderance of the evidence

8      standard that applies to us to show it could have been matched,

9      I think we met it.     It's un-rebutted.     There is no other

10     testimony to counteract that.

11                You can obviously weigh, probably you know, how much

12     weight you give that.     But, in my mind, it's one nil on that

13     issue.   We have one.    They have no testimony to counteract that.

14                THE COURT:    Okay.    You answered my question.

15                You told me half an hour and I took up all your time

16     and asked more questions.      Frankly, it was very helpful to me so

17     I appreciate your staying with it.

18                MR. DARR:    No problem.

19                THE COURT:    If you have got anything else to tell me,

20     now's the time.

21                MR. DARR:    Yes, sir.    I would just go ahead and jump

22     into damages real quick if we could.

23                The table that we went through, that's in our

24     interrogatory responses, which is Defendant Exhibit 306, page

25     18.   We are seeking the amount unpaid under the contract, the
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1      storage costs that was incurred, the disposal fee to get rid of

2      the precast which we can't sell to anybody else, the lost

3      production, line item we talked about regarding having to bring

4      the forms back together and all that, and the lost profit on the

5      work that wasn't allowed to be formed, which was supported by

6      the testimony of Mr. Davis regarding based on their estimate

7      they had.    PRC's damages in that amount total up to $124,969.

8                  I would like to also, briefly -- I know I've been up

9      here for an hour and a half almost -- touch upon Oelrich's

10     damages, in the event we are not going to win on liability.

11     Hopefully not, but if we are not I want to talk about their

12     damages.    That $105,000 in delay damages, Your Honor, I am sure

13     you could probably tell during my cross-examination, I try not

14     to get fired up and aggressive with people.         It's not my

15     personality.    But I find those damages highly suspect.

16                 I've never had a construction case where you don't

17     have an expert, at least a hybrid fact expert witness, that can

18     testify in support of delay damages because you've got to

19     perform some sort of critical path analysis to support those

20     damages.

21                 I get that they are saying this wasn't a real

22     complicated delay, but you still have to have some sort of

23     analysis that you can show to support that.         And frequently

24     that's done through expert testimony.

25                 Okay, I didn't know if you had a question.
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1                  Second, with regard to those delay damages, and much

2      to Mr. Oelrich's credit, he admitted the schedules upon which

3      they are based, they are not accurate.        And that's really

4      common.

5                  One thing I asked during Mr. Crehore's deposition is,

6      do you know whether or not the schedules that Mr. Jordan

7      Robinson, the superintendent, maintained were actually

8      reflective of what was going on in the field.         And he kind of

9      paused.   And then I said something along the lines of, you know,

10     a lot of my clients, they tell me their schedules don't really

11     reflect reality.    And I got a laugh.      And I said it in the

12     record, wow, I never get a laugh during a construction

13     deposition.    This is fantastic, something like that.

14                 So, he admitted the schedules aren't accurate.           Mr.

15     Crehore's deposition testimony, which is in the record, at least

16     implicitly suggests they may or may not have been accurate.            And

17     without an accurate construction schedule to measure the actual

18     delay from the as-planned dates of their scope of work versus

19     the as-constructed dates, you are just spit-balling about how

20     long the delay was.     You have to have some proper analysis

21     there.

22                 I get their position is that it's so simple they don't

23     need one.    But, arguably -- not arguably.      I strongly believe

24     you do need some expert analysis there.        The schedules need to

25     be accurate.    And there aren't --
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1                  THE COURT:    Why isn't -- they say 14 weeks.      And I

2      think my question to Mr. Oelrich may reflect it.          It seems to me

3      they were picking the wrong dates.       But if the date they were

4      willing to go with was April 6th -- and I think they had given

5      additional chances up to April 6th.       So I don't think they can

6      go back to January 6th or February 17th.        But if you go to

7      April 6th, which is the date when -- last date when PRC should

8      have started, and you run it up to when Spring Precast started,

9      isn't that the period you are looking at?        It does seem to me

10     pretty easy.    And that's probably 14 weeks.

11                 MR. DARR:    The analysis would depend on, at a minimum,

12     having to prove that none of the work that was left to do in

13     their scope, that was on the schedule, was -- couldn't have been

14     done in the interim, and it wouldn't have extended out the

15     entire date.

16                 I found it rather oblique as to how they got there.            I

17     get the allure of, this is the critical path date when you had

18     to start.    And they didn't start until -- Spring didn't start

19     until this date, so we get all that.        But, as to whether or not

20     that was actually the critical path date, or not, I didn't see

21     any evidence to support that, other than Mr. Oelrich, in my

22     mind, conclusory stating, that was the critical path start date.

23                 THE COURT:    Well -- but he explained it pretty well.

24     I'm not suggesting that date.       He said March 10th is when this

25     gets in the critical path.      I am suggesting April 6th.      They had
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1      agreed a reasonable date and they have agreed to extend it again

2      out to April 6th.     Take April 6th to the date when Spring

3      started, seems to me that that's pretty clearly the delay caused

4      by PRC failing to perform.

5                 MR. DARR:    The April 6th date --

6                 THE COURT:    What's wrong with that?

7                 MR. DARR:    That wouldn't be the proper start date.

8      The proper start date would be the date when that particular

9      scope fell on the critical path.

10                THE COURT:    Not if the delay was not wrongful at that

11     point.

12                Look, they have -- the contract says, we will agree on

13     a date.   Well, they agreed on a January 6th, or -- maybe.           It

14     was certainly agreed on February 17.        But they don't terminate

15     at that point, and they are still willing to work with PRC

16     starting on April 6th.

17                Now, maybe you are right, maybe the delay goes back to

18     March 10th, because if PRC had done what they were supposed to

19     they would have started by March 10th -- or back on April 17,

20     and March 10th is when it was in the critical path.

21                But if you look at the other way and say they agreed

22     to change the date to April 6th, then if that's the agreement

23     then they don't get damages for the delay that they agreed to.

24     So, April 6th is the date when PRC is to perform.          And it's

25     after that that the delay gets chargeable to PRC as part of the
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1      damages calculation.

2                 So you go from April 6th and 14 weeks later is

3      probably about right.     I don't know that I am looking at the

4      date when Spring started.

5                 MR. DARR:    You know, I'm sure you are aware, Your

6      Honor, there are plenty of cases that say you don't have to get

7      your damages down to the nickel, or something along those lines.

8      But, to me, this is too rough of an estimate.         If they did win

9      on liability, this particular component, it's a little too rough

10     around the edges as I like to call it.

11                I don't think that they proved what predecessor work

12     that they were doing, led up to the supposed date at which PRC

13     not doing its work was pushing out day by day everything that

14     came after there.     I didn't see that because the analysis was

15     what you just described.      I have never seen a delay analysis

16     that could be described in a minute.        It just doesn't happen.

17     Usually you have to go through a schedule, and you get testimony

18     from an expert who says:      Here is the last piece of critical

19     predecessor work that had to be performed on the bar chart

20     before the offending party's work had to start --

21                THE COURT:    I don't doubt that you can hire an expert

22     to analyze things at huge costs, but, you know, sometimes things

23     aren't as complicated as lawyers and experts make them.

24                What you really want to figure out is how much was the

25     delay attributable to PRC's failure to perform.
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1                  MR. DARR:    And that burden falls on them, is what I

2      would say.

3                  THE COURT:    It absolutely does.

4                  MR. DARR:    So, beyond just the scheduling critical

5      path dates and analysis, when we were looking at some of those

6      costs that were included in their daily general conditions

7      costs -- I'm sorry -- weekly general conditions costs that they

8      had on that table, admittedly almost all of the items were based

9      on estimates and historical estimates.        But I haven't seen any

10     underlying documentation supporting any of that.          For all I know

11     that was pulled out of the air.

12                 I will say that with regard to that project engineer

13     line item, there was an item there for, I think, a thousand

14     fifty per week.    Something like that.      Mr. Oelrich admitted that

15     wasn't just one project engineer, but it was multiple project

16     engineers but he didn't know how many.        Didn't know how many

17     project engineers had been included in that rate.          Could have

18     been two.    Could have been three.     Could have been four.        So,

19     it's another estimate.      Even that one -- it's just too rough

20     around the edges.     I don't think that they proved that those

21     actual costs were real.

22                 Again, I still think they should have produced the

23     underlying documentation to support those costs to support their

24     burden to prove that damage amount.

25                 Finally, with regard to that delay damages claim; we
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1      have that 15 percent mark-up which Mr. Oelrich included because

2      he thought it was fair.

3                 THE COURT:    They don't get that.      That's not how you

4      calculate profit.     I got it.

5                 MR. DARR:    Okay.    I will move on.

6                 THE COURT:    You know, if they bid the job badly and so

7      they were going to lose money on the deal they don't get to make

8      money on the delay.     What profit you make is based on what you

9      bid the project for and what you are entitled to be paid.

10                MR. DARR:    Finally, with regard to their damages, Your

11     Honor, I want to talk about their Spring Precast charge, which,

12     again, if they were to prevail on liability would be a

13     legitimate item of damages.

14                I call it the cost to cover.       Always costs more to

15     hire the replacement guy.       I get the difference between what I

16     paid the guy to do your work and basically your contract

17     balance, so whatever your contract was.

18                If you remember, they had a -- I believe it was a

19     $44,000 delta, something like that -- the difference between

20     what PRC agreed to do it for and what ultimately Spring did it

21     for.

22                Now, they did have evidence of the Spring Precast

23     contract that had the amount on there, which I believe was to

24     the tune of $323,000.     Something like that.      PRC's contract was

25     275.
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1                 But, the only evidence I saw of actual payment to

2      Spring Precast, that's in the record, is their subcontractor

3      ledger report, which we saw a couple of times during the trial,

4      and that only indicates that they paid Spring $239,761.80.            Not

5      the full amount.

6                 THE COURT:    What difference does it make whether they

7      made paid it or they owe it?

8                 MR. DARR:    If you are not out-of-pocket on it you

9      can't claim it.

10                THE COURT:    Of course you can.

11                MR. DARR:    Well, how am I to know whether they are

12     going to pay it or not?      I don't know what deal they have with

13     Spring Precast.

14                THE COURT:    If they were obligated to pay it, they are

15     obligated to pay it.     I mean, that doesn't work.       And that

16     happens in lawsuits all the time.       For that matter, it happens

17     in businesses.    People keep track of these things on an accrual

18     basis, not a paid basis.

19                If you incur liability for a hundred thousand dollars

20     as a result of the defendant's tort, or breach, then you can

21     recover the hundred thousand dollars whether you have paid it

22     out-of-pocket or not.

23                In tort cases, the doctor's bill often hasn't been

24     paid.   If the hospital bill hasn't been paid, it's going to be

25     paid out of recovery.
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1                 All right.

2                 MR. DARR:    With that said I'm just going to go ahead

3      and give a quick summary -- one or two sentences.

4                 I think you've heard me talk about improper and

5      wrongful termination enough, but it is the nuclear option of all

6      of the options to pick in construction.        There are plenty of

7      cases to hold that the burden will be on them to justify that

8      termination, show that clear shot across the bow.          Give them

9      fair warning, if you don't step up and deliver by a date-certain

10     you might be terminated.      It's just not in the record.      Whether

11     or not you agree with me, Your Honor, that needs to happen,

12     debatable.

13                It's also a case about them assuming their form

14     contract applied throughout the whole project.         Obviously, we

15     have talked about Note A ad nauseam.        That's a huge deal to my

16     client.   They needed those terms.      Oelrich didn't live up to

17     that end of the bargain.      Their one main primary obligation to

18     PRC; pay us on time and in full, otherwise we can suspend

19     production.

20                Thanks for your time.      I appreciate it.

21                THE COURT:    Thank you.

22                Rebuttal, Mr. Butts?

23                I haven't forgotten what you told me the first time,

24     so let's don't do it again.

25                MR. BUTTS:    Your Honor, I would like to first speak to
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1      the match issue that you asked Mr. Darr about, and the question,

2      if I recall correctly was, whose burden was it to determine the

3      feasibility of the match?      I think it's important to note a

4      couple of things:

5                 One, I have already pointed out and that is that PRC

6      had every opportunity, in May 2020, re-engage with Oelrich

7      Construction and try to salvage this, and, in fact, they would

8      have salvaged it at that time.

9                 But the points that I want to make are:         In terms of

10     matching these panels, Oelrich Construction would need to know

11     which panels exactly had been fabricated.

12                They would need to know the formula or aggregate that

13     was used on them.

14                They would have to go to South Carolina to try to

15     match them, so they would have had to gotten someone like Spring

16     to go up there, onto PRC's plant, look at the panels, make

17     mock-ups, go back up there and see if they matched.          An

18     architect from UF or VA would have to approve it by seeing the

19     panels up there, or else try to transport them down here.

20     Mr. Davis said that was not practical to do unless you are going

21     to hang them on the building.

22                So in terms of the practicality of who was responsible

23     for, let's just get somebody else to finish these panels and

24     match, that's PRC's responsibility to participate in that.

25                They gave no indication throughout this entire project
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1      that they would cooperate with Oelrich Construction about

2      anything, including returning a phone call.

3                 Now, we've got to try to figure out a way to build how

4      many panels -- we don't really know.        Maybe 50 something.      Maybe

5      they assert they built 94 -- they got up to 94 -- but we don't

6      really know that, Your Honor, because their testimony was the

7      wheels fell off in South Carolina when COVID came.          And COVID

8      came in, what, middle of March, April, May, when they say that

9      they produced, what?     40 panels.

10                In those two and a half months they say they produced

11     40 panels.    In four months leading up to March, four and a half

12     months they hadn't produced one panel.        COVID comes and they say

13     they can produce 40 more panels.       We don't know whether if they

14     have those panels up there.      So, the burden to cooperate on that

15     match --

16                THE COURT:    I guess nobody in discovery figured out to

17     check on this?    I mean, this is one of those I kind of scratch

18     myself and say I don't know how many tens of thousands of

19     dollars have been spent, but it's a lot.        And you go through the

20     discovery process.

21                I understand; travel is difficult during some of this

22     because COVID is out there.      And depositions are taken by video.

23     Maybe somebody there at that property, when this is -- when they

24     are being deposed.     Cameras exists.    Somebody can walk around

25     and do it.
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1                  Surely -- and you've got good lawyers that are by all,

2      everything I can tell, you have been very professional with each

3      other, nobody could work out for someone to walk around with an

4      iPhone turned on video and go around and show what was there?

5      Nobody -- none of that happened?

6                  MR. BUTTS:   Your Honor, I would submit to you that PRC

7      is the one who is seeking to be paid here.         They have got the

8      panels.   We don't.

9                  THE COURT:   I understand.    Yeah.    But you also had the

10     rules of civil procedures that would have allowed you to see

11     these things.

12                 MR. BUTTS:   I agree.

13                 THE COURT:   I got to tell you, if somebody wanted to

14     see the panels and you said:      We have COVID.     We don't want to

15     travel.   We don't want to get a Rule 34 visit to the property.

16     We'd just like to have somebody take pictures, I would have said

17     sure and they wouldn't have been objected to.

18                 MR. BUTTS:   We asked them for pictures of everything

19     they've got.

20                 THE COURT:   Well, you say send us all the pictures you

21     have.   But did you say how about going and making us some

22     pictures?

23                 MR. BUTTS:   No.   We didn't do that.

24                 THE COURT:   Okay.

25                 MR. BUTTS:   But what -- we would view that as their
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1      burden.

2                  THE COURT:   Yeah, I got it.     There is a burden issue.

3      And Mr. Darr was very candid and said probably it seems to me it

4      may very well be a mitigation issue and he may be right.             The

5      burden may be on him.

6                  MR. BUTTS:   Your Honor, I didn't mean to get into the

7      discovery issue again, but I was just attempting to respond to

8      your question that you asked Mr. Darr.

9                  THE COURT:   Fair enough.

10                 MR. BUTTS:   Your Honor, we have some cases that we

11     would like to just cite, if I may, in regard to who can testify

12     as a CPM -- as to CPM, that an expert is not required, a project

13     manager can testify, and I will go ahead and cite those cases

14     now.   Helena and Associates, LLC versus EFCO Corporation.            It's

15     a southern district New York case.       May 14, 2018 [sic].         It's

16     2008 US District.     It's Lexus 39977.     And there are several

17     cases cited in that that may be helpful for the Court in

18     addressing that issue that Mr. Darr raised.

19                 THE COURT:   My only question about that, and maybe I

20     heard you wrong, I thought you said a 2020 southern district

21     case and then you gave me a 2008 citation.

22                 MR. SECHREST:    It's a 2008 case.

23                 MR. BUTTS:   It's a 2008 case, southern district May

24     14, 2008.   I may have said 2020 by mistake.

25                 THE COURT:   I may have heard you wrong.       Okay.
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1                 MR. BUTTS:    There were some photographs that were

2      referenced about -- that were taken.        I think Mr. Darr may have

3      been of the impression that these -- these are photographs of

4      the panels -- that PRC asserts that they were -- all the panels

5      that were fabricated, or panels that were fabricated, and the

6      photograph is stamped May -- excuse me, June 2020, is when the

7      photograph is stamped.     Those are in evidence.

8                 It's important to note that the VA's rules, which are

9      found in Exhibit 32, as it pertains to work being performed on

10     their property, require two weeks to review the safety documents

11     that we have discussed.      But then, in addition to that, there is

12     a meeting that is also required.       So it's not just a two week

13     lead time there.    There has to be that meeting that's scheduled,

14     and they won't schedule the meeting until they get the documents

15     that were at issue.     And there has been a lot of discussion

16     about those documents.

17                I just want to correct one thing that -- my

18     recollection is just a little bit different than Mr. Darr's in

19     regard to Chris Crehore's testimony; the meeting that we had

20     when he went up there late January.       I believe that Mr. Darr's

21     recollection of perhaps Forde Davis' testimony was that

22     Mr. Crehore went up there and did not ask to see the panels.

23     But I believe the testimony was that he went up there to have a

24     face-to-face conversation with Forde Davis, but when he got

25     there he was told that he would not be able to see the panels
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1      because they were moving, or something was happening with the

2      yard that would preclude him from being able to see the panels.

3                 Nevertheless he used that time to talk with Mr. Davis,

4      and, according to his testimony, gain a level of assurances that

5      allowed him to keep the ball rolling so to speak as they went

6      forward.

7                 I think it's important for the Court, only in terms of

8      the weight of the evidence and the candor of the witnesses, to

9      recognize perhaps something the Court has already recognized;

10     but PRC sent that pay request for a hundred percent on December

11     the 16th, if my memory is correct.

12                Randall Davis testified that it takes two weeks for

13     the concrete to cure -- to cure.       I don't know how long it took

14     to make the forms, or how long it -- but, if we said that the

15     date they sent the pay request they poured those forms full of

16     concrete, that would take us out to December the 30th that they

17     would have all of the panels built.

18                And that would be the day that Dana Noyes went there

19     and he did not see them.      He only saw 51.    So without getting

20     wrapped up in how many panels were there -- I'm only saying that

21     because they said they would have a hundred percent of those

22     panels -- 105 panels on that lot by the end of December.             They

23     said that.    And it does not appear that that was an accurate

24     statement to make on the 16th of December, based on Mr. Davis'

25     testimony how long it takes those panels to cure.          And what
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1      Mr. Noyes took pictures of when he was up there.

2                 Thank you.

3                 THE COURT:    All right.    Thank you.

4                 Give me just a minute.

5                 (Pause in proceedings.)

6                 THE COURT:    Let me give you findings and conclusions

7      on liability.

8                 I am going to take the damages question under

9      advisement.    I need to spend a little more time with the record

10     and going back over some of the things you've told me in

11     response to my questions and in your arguments.

12                First, I have got an outstanding issue on exhibits.             I

13     think the objections were to Plaintiff's Exhibit 6th and 32.

14     Those are admitted.

15                The objection to 6th is overruled, although the crux

16     of the defense problem winds up being moot.

17                32, I think, is an amended answer.        It will be part of

18     the record either way, whether it was admitted or not, but it

19     was listed as an exhibit and I treat it as part of the evidence.

20                Some background initially: Oelrich had the contract to

21     do the building where the boilers would be housed out at the VA

22     hospital here.    Oelrich subcontracted with PRC.       PRC was to do

23     the precast.

24                A negotiated term, different from what Oelrich would

25     ordinarily put into a subcontract, dealt with payment.          PRC
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1      insisted, and was able to get in the subcontract, a provision

2      that there would be no retainage on the precast material, only a

3      five percent retainage on the actual erection activity, and that

4      payment would be due net 30 days.       So, 30 days after invoicing.

5                  Another special term that PRC was able to negotiate

6      was that if the schedule that was anticipated at that time

7      didn't turnout to be the actual schedule, then rescheduling

8      would not be done by Oelrich unilaterally, but would be done by

9      agreement between Oelrich and PRC.

10                 Through no fault of either side, the schedule was

11     substantially delayed.     There were sub soil conditions, bats in

12     pipes, various things.     It caused the entire schedule to be

13     delayed.

14                 That meant that each side had an obligation to agree

15     to a revised schedule.     Each side was obligated under the law to

16     act reasonably, and that was done.

17                 The parties addressed the schedule.       It was delayed

18     and then delayed again and again.       I will get back to that in a

19     few minutes.

20                 Before getting to that, there were some skirmishes

21     that were unrelated to the outcome of the litigation.          Oelrich

22     asked, again and again, for documentation that was going to be

23     needed.    It's referred to as an OSHA 10 and OSHA 30.        These

24     confirm required training for personnel on-sight.          Needed a

25     hazard assessment.     It was perfectly reasonable for Oelrich to
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1      ask for those things when it did.

2                  PRC's response consistently showed a disdain for

3      communicating and for requirements that Oelrich reasonably

4      brought up.    These are things that's part of the government

5      contract that had to be done, so it's reasonable for Oelrich to

6      ask.   PRC's responses were not as reasonable.         Ultimately, makes

7      no difference in how this thing played out.

8                  More significant, but still not having affect on the

9      outcome, is that Oelrich failed to pay invoices properly under

10     the revised payment term that was part of the subcontract.             It's

11     been referred to as Note A.       That's what it's called when it's

12     appended to the subcontract.       That's what reduced the retainage

13     on construction work and eliminated the retainage on the

14     production of the product.

15                 For whatever reason that didn't get properly

16     communicated and handled through the accounts payable folks at

17     Oelrich, and so the bills weren't properly paid.

18                 It was a mistake.     It shouldn't have happened.         There

19     wasn't anything intentional or nefarious about it.          It was just

20     a mistake.

21                 The entire dispute about payment doesn't show fault at

22     Oelrich.    Oelrich did reasonably ask for lien waivers and

23     confirmation of insurance on the product that had been

24     manufactured and was there on PRC's lot.

25                 You might wonder, at first instance, why do we have to
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1      provide an insurance certificate every time we ask for payment,

2      but if that's the federal requirement that Oelrich needs, in

3      order to send a pay request up the line, then that's what's

4      required.    So it was reasonable to ask for those things.

5                  It was reasonable at the later point after production

6      was being done for Oelrich to ask for photographs of the

7      produced materials.     Forde Davis had said, when the payment

8      provision was being negotiated, that they would be willing to

9      provide photographs at the proper time.         So those were

10     reasonable requests by Oelrich.

11                 The accounts payable or accounts receivable

12     professionals at each shop had an exchange.         They are

13     professional in tone trying to work it out.

14                 One of the parts of the exchange was that the Oelrich

15     person said, suggested -- didn't demand -- but suggested that

16     one way to deal with the unpaid retainage would be to submit an

17     invoice for the retainage.       That would let her run it through

18     her software and get it paid.

19                 You have all heard the expression, Computers, can't

20     live with them can't live without them.         We have all dealt with

21     software that sometimes is not the most user-friendly or the

22     easiest way to get where you're going.        So she suggested, if you

23     send me another invoice for the retainage I will get you paid.

24                 Forde Davis says here at trial that this is somehow

25     nefarious that they are trying to start the clock over, or --
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1      there is nothing to that.      That just wasn't the case at all.

2      This is a professional that has no interest in delaying

3      payments.    She is trying to get her job done.        Get the payment

4      made.   She just suggested this is one way to do it.

5                  Now, I understand why the professional on PRC's side

6      didn't want to do it that way.       She thought if, Well, I do that

7      I have to go back and rearrange the amount billed and unpaid and

8      all that, because she is dealing with her software, too.

9                  Those are the kind of software things that we all deal

10     with from time to time and it's just not a big deal.

11                 PRC is correct, they were entitled to be paid the full

12     amount that they had properly billed, whatever that number was.

13     And this will become a theme through some of this; if that was

14     really a problem for PRC, Randall Davis should have picked up

15     the phone and called Mr. Oelrich.

16                 There is no doubt in my mind, based on all this

17     evidence, that had people high enough in the chain talked about

18     this it would have been cured very promptly.

19                 There is nothing in the record suggesting this was any

20     effort by Oelrich to delay its payments.

21                 Oelrich probably didn't like payment term.         They would

22     have preferred their pay-when-paid provision that they usually

23     have, but at a high enough level a phone call saying, Remember

24     back at the beginning we changed that term.         And the folks at

25     Oelrich undoubtedly would have said:        Yes, we need to pay you,
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1      and it would have gotten worked out.

2                  More importantly about all of this, PRC never stopped

3      production based on the failure to pay the full amount due.

4      Never communicated to Oelrich that the failure to pay the full

5      amount due was affecting PRC's performance.

6                  PRC didn't walk away based on this.        Ultimately, for

7      the issues that we are here to deal with, the failure to make

8      full payment made no difference.        The failure to make full

9      payment was not a reason why this contract broke down and we

10     wound up where we are.      It just didn't make any difference.

11                 Now, a general comment about the relation between the

12     parties through the contract period.        There was an astonishing

13     lack of communication.      And it was PRC's fault throughout.         PRC

14     failed to communicate.      More than anything else that's why we

15     are here.

16                 Let me go through the chronology that deals with what

17     we are here about, which is the schedule -- the failure to meet

18     the schedule.

19                 By November 2019, it was clear that things were about

20     to ramp back up.     Forde Davis sent an email on November 11,

21     2019, on this issue about the documentation, the AHA, A-H-A,

22     plan and the OSHA 10 and OSHA 30 documentation.

23                 What Mr. Davis said in his email was that PRC hadn't

24     narrowed it down and wasn't going to be providing the

25     information right then, but he starts by saying, being three
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1      months out from arriving on site.        Now three months out from

2      November 11 would be February 11.        Three months out at that

3      point was an exageration that runs through some of the testimony

4      and some of the communication.       But what it makes clear is that

5      things are about to go at least within the next three months.

6                  Then on November 20th, nine days later, Oelrich sends

7      a schedule to Forde Davis and it has construction set at

8      January 7 -- precast panels on January 7.

9                  I'm sorry.    I gave you the wrong lead into that.         It's

10     not November 20th.     It's November 25th.      And it's the

11     distribution not just to Forde Davis but to all of the others

12     involved informant project -- the other trades and so forth, and

13     it shows January 7th, so a month and a half ahead and the

14     schedule has it as January 7th.

15                 Then there is another email on January 27th, which

16     shows -- with a schedule and it shows precast on January 6th

17     through 10th.     So, again, this is confirmation more than a month

18     out that the anticipated date is that first week in

19     January 2020, starting on January 6th or 7.

20                 By December 3rd, Oelrich sends Forde Davis another

21     email about the documentation that's needed, reminding that

22     documentation needs to be in place before the forthcoming

23     meeting.    He says, "You've been extremely hard to get a hold of

24     and I need your attention to this matter.         You're scheduled to

25     be here the first week in January."
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1                  So, again, written confirmation that we're on for the

2      first week in January.      No push back or disagreement from PRC.

3                  Mr. Davis writes back on December 5th, saying that the

4      lift plan normally comes from the crane company.          No

5      disagreement with the schedule for the first week in January.

6                  Mr. Davis says he was pretty much out all last week

7      with the flu.     He knew about the OSHA requirements at bid time.

8      This is the first he is seeing of the AHA documents.           He says,

9      "I will review them and get them filled out."

10                 December 11th there is another request, "Where is the

11     AHA document.     These items are past due."      Again sent to Forde

12     Davis.   That's December 11th.

13                 December 12th there is a formal letter written, it

14     says that on September 19th, 2019, more than almost three months

15     ago, "The superintendent made all subcontractors aware for the

16     need of these documents.      Where are they?"

17                 On December 16th, Mr. Crehore writes Forde Davis,

18     "When we talked to you on Friday you were going to get your OSHA

19     certs in by the end of the day, contact information for the

20     crane company in by noon on Monday.        We got the certificates for

21     only two individuals, not the rest of them.         We need those.

22     We're going to have to have the 30 hour certification.           We need

23     the lift plan."     And then he ends, "Are we going to do this

24     project?    Are you committed to being on site Monday,

25     January 6th, 2020?"     It's now 21 days out, and you can tell from
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1      the correspondence that Oelrich is becoming concerned about

2      whether PRC is going to do that they're obligated to do.

3                  The same day then, that four hours later, at 9:36 at

4      night, Mr. Davis writes back to Mr. Crehore and says, "There

5      were other things that came up that required my immediate

6      attention on another project.       When I have to choose between an

7      issue on a job that's actively shipping and one that's a few

8      weeks out I have to choose the one that's active.          I will give

9      you the same urgency when your precast is being installed."

10                 Then he says, for the first time, "January 6th isn't

11     going to work."     That he has been in touch with their crane

12     operator.    He had been telling them January, "they say they are

13     still a couple weeks out from that date."         The crane operator

14     not January 6th, couple weeks out, that would be January 20th.

15     He says, "I hope to have this shored up before the holidays."

16     So, here he is on December 16, saying essentially before

17     Christmas, "I want to get the date nailed down.          I can't do

18     January 6th."

19                 December 18, there is an email back to Mr. Forde Davis

20     that says, "Tried to get a hold of you.         We need to get this

21     ironed out.    Please call me back."

22                 Same day there is an email saying, "We need photos of

23     the product."     Oelrich is trying to see are we -- like the

24     earlier email said, "Are we going to do this job?          Are you

25     working on it?     Where are photos of the product?"       No response.
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1                  December 18, there is another email to Forde Davis

2      that says, "The start date of Monday, January 6th, has got to

3      happen.    I need you to call me so that he can discuss this."

4                  December 24th, there is an email saying, "I need your

5      information on the production tickets."

6                  Forde Davis says, "We don't like to give out the

7      production tickets to cause extra scrutiny."         Well, there's a

8      red flag.    I don't want to give you the information because I

9      don't want anybody looking at my product.

10                 Then he says, "As for the start date, we didn't know

11     the exact date until just last week.        We were notifying our

12     erector that it would potentially be in January, based on

13     previous discussions, but that wasn't set in stone.          We're

14     trying to get our best -- get on site for installation as soon

15     as possible now but it's a work in progress."          So December 23rd,

16     "working on it," says, "we just found out the date."

17                 December 27th, another email to Forde Davis saying,

18     "Where is your lift plan and your OSHA certificates?           These

19     could already be submitted even if you are waiting to confirm

20     with your erector."

21                 Then December 30th, Mr. Noyes goes up there.         Looks

22     for product.    Sees part of the product.       Randall Davis makes a

23     handwritten note that's been produced and it gives some window

24     into where things stand.      "Drop in visit from David Noyes with

25     Oelrich Construction.      Says we do not communicate with them" and
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1      the record makes very clear that that's correct.          That PRC is

2      not communicating again and again and again.

3                  Mr. Randall Davis' note says, "I said bullshit."

4                  My take on it is this: Randall Davis did not know how

5      poorly PRC was communicating.       So, Randall Davis didn't know

6      that what Mr. Noyes was saying was true.

7                  And then he says, "Your idiot's robo dial" -- I am not

8      sure what that means -- "robo dial through our phone system" and

9      that's consistent with what the Oelrich people said: they call,

10     they get the numbers, they do the numbers, they don't get a

11     human being.

12                 Mr. Davis says, "Additionally your job does not

13     warrant daily communication."       That's true.    It didn't warrant

14     daily communication, but it did warrant communication.           And at

15     some point at some of these points along here it probably

16     warranted daily communication.       "Showed him around and his

17     product."    Does not say, showed him part of his product.            It

18     says, "Showed his product."       Wanted a schedule.     Says, "I will

19     send one tomorrow."     That's completely consistent with what

20     Mr. Noyes said.     I saw -- he showed me our product.       Said he

21     would send a schedule.      And he did send a schedule.      And he did

22     it by email dated December 31st, the next day, as he had

23     promised.

24                 And the email says, "According to our current

25     production schedule, and when you guys contacted us about
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1      rescheduling this project, November 2019, we anticipate a start

2      erection date of February 1, 2020.        This date is based on

3      remaining production."

4                  So the February 27 date, that's not Oelrich's date.

5      That's PRC's date.     PRC selects February 17th to do the

6      installation.

7                  And, the email also says, "You guys contacted us in

8      November 2019."     That's what I said earlier, and there was

9      documentation of that.      November 2019.    So not as Forde Davis

10     said in late December a week ago.        This has been in the works

11     going back to November.

12                 And Mr. Davis says, "We understand you had an erector

13     available."    And that's what Oelrich had said.        When Forde Davis

14     said the problem is "our erector is not available on

15     January 6th", Oelrich found an erector to solve that problem.

16                 And, Mr. Randall Davis' email, on December 31st,

17     confirms that indeed Oelrich had found an erector.

18                 That makes it a little unclear why this couldn't go

19     forward on January 6th.      Of course the answer is because PRC had

20     not done the product, even though it had billed for a hundred

21     percent of the product in mid-December, it did not do the

22     production.

23                 January 6th there is an email back to both of the

24     Davises, "If we are going to start erecting on February 17, when

25     are we going to be done with production.         We will have to verify
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1      the material before the joint venture will release payment."                So

2      they are going to want to verify that the material has been done

3      and he again asks the OSHA certificates and the crane lift plan.

4                  So now we've got emails on both sides saying

5      February 17th.

6                  On January 9th, Mr. Oelrich sends a letter to Randall

7      Davis -- I may have in questioning referred to it as

8      January 12th.     It's apparently January 9th.      Saying, "I am

9      trying to contact you go to understand what I can do to help get

10     this project completed.      If we have treated you poorly, I want

11     to understand what happened and make it right.          If there is

12     already a plan in place please just let me know what it is.

13     Please let me know what I can do to help resolve whatever issues

14     we may have."     Give him an office and a cell number.        A very

15     professional effort to sort out any problems and get this thing

16     going back to the right direction.

17                 Randall Davis testified that he did get this

18     communication and I think I can quote it, "My attitude got the

19     best of me."

20                 So, Mr. Oelrich reached out to solve the problem.

21     Randall Davis became aware of the communication.          Voluntarily

22     chose not to respond.

23                 On January 14th, there is more communication about the

24     status of payment.     And Mr. Wilson, at Oelrich, sends a

25     communication back to Ms. Taylor, who is the accounts receivable
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1      person, the financial person at PRC, and to Forde Davis, and

2      says, "Applications 9 and 10 have been rejected because when our

3      inspector visited your facility he reported back that only

4      53 percent of the precast material we need for the VA has been

5      produced." I am not quite sure where the 53 percent comes from.

6                  And says he, "Also provided pictures to verify this

7      amount.    The last legitimate pay application you have is eight,

8      which is billed at 53 percent production."

9                  Well, if those two 53 percent numbers were right it

10     would make my job easier because you'd be able to look at it and

11     say both sides say we are at 53 percent, which is going to

12     become an important amount.

13                 But I am not sure where the 53 percent of production

14     came from.    Probably 55 divided by 105.       I haven't redone the

15     math.    I think we talked about 51 in argument, but go back and

16     check.    Mr. Noyes may have said -- Oelrich may have said when

17     they counted it up it was 55.       I don't remember.     But the

18     reference to pay application eight at 53 percent I think is

19     wrong.    I think pay application eight was at 63 percent.

20                 As I said, I am going to take damages under

21     advisement.    I am going to have to get back and deal with some

22     issues, but also with some numbers and facts.

23                 And then Mr. Wilson goes on says, "I tried to call you

24     several times last month to discuss all of this and never

25     received a call back", and so forth.
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1                  So, where it is as of that point is that this is

2      scheduled for February 17th.       There is another circulation of a

3      schedule on January 23rd.      It's Plaintiff's Exhibit 28.       And

4      it's not the schedule with precast as at February 17th.           So

5      that's the schedule.

6                  On January 24th, there is a letter from the law firm,

7      Mr. Butts' law, from Mr. Hipworth, one of the attorneys of

8      record here in the courtroom, to Forde Davis, and it is not what

9      Mr. Darr has referred to as a shot across the bow.          It's more of

10     a, I guess I'd call it halfway between a carrot and a stick, but

11     it's a letter from a lawyer saying we need to get this on track.

12     It's also emailed to Mr. Davis.       And the record includes

13     certified mail receipt so it may have been sent certified.

14                 Then the first indication that there is a problem with

15     February 17th is an email from Mr. Davis on February the 4th.

16     And he says, "Right now, we have 19 of 53 total panels made.

17     The remaining 34; 12 can be made simply with rebar cages.

18     Should go pretty quickly.      But, 22 must be made using

19     post-tensioned strands.      These will go slower.      With that our

20     best estimate at a production timeline is 22 days."          And plainly

21     that's 22 work days, so that's four weeks.

22                 Now Mr. Randall Davis has testified here that they

23     were not that nearly that far out.        But, at this point, Forde

24     Davis is saying we need 22 days.

25                 Obviously not going to make it on February 17th.           And
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1      he says, "I know this is further out than what we originally

2      said but this is where we stand today based on workload and

3      complexity of the remaining pieces.        We still want to do the

4      project and I am actively looking to see if there can be some

5      overlap.    I will have you the paperwork for OSHA certs and crane

6      plans a minimum of two weeks before mobilizing."

7                  So, I am still not sending you the stuff you have

8      asked for and I am not going to be there on February 17th.             I

9      need a minimum of 22 days.

10                 On February 26th, Mr. Crehore sends an email

11     confirming that he has talked with Mr. Davis, "Per our

12     conversation, you are finishing up the last piece from the other

13     project this week.     22 days" -- that's Mr. Davis' number -- "22

14     days to finish casting the VA pieces takes us through the end of

15     March, but we can start earlier with the pieces already cast.

16     Please provide us a list of the panels that have already been

17     cast per an earlier request.       Your erector will be available

18     after March 16, but hasn't started his OSHA so he will be using

19     his time after the 16th to take the 30 hour.         One week to take

20     the class would give us a target start date of March 23rd, but

21     no later than April 6th."

22                 So based on Mr. Davis' statement that we need 22 days,

23     and given some slack to take the 30 day course, that could have

24     been done months ago but still hasn't been done, let's do it no

25     later than April 6th.      "Please confirm.     Also what's the ETA on
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1      the lift plan and operator certificates so we can go ahead and

2      get in."

3                  That was February 26th.      Still no photos.    Still no

4      confirmation.     You can see to this point Oelrich has every

5      reason to be very nervous about whether this is going to happen,

6      whether PRC is going to perform, whether April 6th is the good

7      date.

8                  Mr. Crehore manages to get Forde Davis on the

9      telephone.    I credit Mr. Crehore's testimony about that

10     conversation.

11                 Mr. Crehore says, essentially, "Where are we?         Are you

12     going to be able to start this no later than April 6th?"

13                 Forde Davis says, "We're not making any panels,

14     currently.    We don't know when we're going to make any panels.

15     Essentially we're not going to start on April 6th.          We can't

16     tell you when we will."

17                 I said, in one of my questions, essentially what Forde

18     Davis says -- not in these terms, but the gist of it --

19     expressed colloquially is, "Go pound salt.         We're not telling

20     you."

21                 At that point, Oelrich didn't have any reasonable

22     alternative to calling it off.       They have no reason to think

23     that PRC did is going to do this job in the foreseeable future.

24                 Mr. Crehore tells Forde Davis, "We are terminating

25     you." And, he sends him an email and confirm it.          Mr. Davis
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1      acknowledges that he opened the email and read it at least in

2      part.

3                  The whole thing is two paragraphs.       The first is five

4      lines, the second is four lines.        There is a third paragraph

5      that says, "lease notify me immediately if my understanding is

6      not correct."

7                  Mr. Davis never responded.      All communication between

8      the two sides ends.

9                  From Oelrich's standpoint, the end of the

10     communication is reasonable.       They've said, "We're finished.

11     The contract is terminated.       If you have any different

12     understanding let us know", and they hear nothing.          They think

13     they're done and that essentially PRC has acquiesced.

14                 Oelrich sends up the chain, in the construction

15     hierarchy, sends it to SAW contracting, the part of the joint

16     venture, and says, "I've terminated PRC."

17                 My conclusion is that the termination was proper.           The

18     contract required 24 hours -- 24 hours notice.

19                 This should have been structured differently.         Instead

20     of saying, "You are terminated", and sending an email saying,

21     "You are here by terminated", what Mr. Crehore should have said

22     is, "Effective 24 hours from now you are terminated."

23                 It would have made absolutely no difference.         It

24     wouldn't have mattered if he sent a certified letter.           Wouldn't

25     have mattered how he did it.       My finding is that Forde Davis
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1      knew that Oelrich's position was that PRC was terminated and

2      Mr. Davis chose to go ahead and ignore the indication.

3                  My finding is that the termination was proper.            That

4      the failure to word it -- give 24 hours' notice made absolutely

5      no difference.     We were where we were.

6                  Let me note this also.      If I were to take Forde Davis'

7      testimony about this, that he didn't realize the email said

8      "termination", and he hadn't been told termination, which I

9      don't credit, but if I did at the very least this is what it

10     would show; it would confirm the astonishing lack of

11     communication by PRC.

12                 On that view, on Forde Davis' view, he has a

13     conversation on March 17th, where he is asked, "Do you want to

14     go forward or not."     He knows that the scheduled date was

15     April 6th.    He says "Yes, I want to go forward", but then he

16     says not a word to Oelrich for the next couple of months.

17     Doesn't say, "Not going to make April 6th."         Doesn't say, "Don't

18     know when I am going to do it."       Doesn't say when I am going to

19     get it on there, what else I am working on, what else I have to

20     do, what date I am shooting for.

21                 Ramps back up production and doesn't tell Oelrich that

22     he is back doing production.       No communication at all.      What a

23     remarkable lack of communication.

24                 So at the very least what all that shows is that PRC

25     was -- couldn't be counted on to perform, wasn't reliable,
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1      wasn't going to communicate.

2                  Even by May, on PRC's own view of this, they were

3      well-short of a hundred percent production.         So having been told

4      in November, "We are ready to go."        Having been given a date of

5      January 6th, and an email saying it has to happen on January

6      6th; Oelrich having found an erector to solve the only problem

7      with going forward on January 6th, that PRC had invoked.              Then

8      having moved it to February 17 at PRC's request, and again to

9      April 6th, when PRC said it couldn't do it.

10                 With all of that background, in May, six6th months

11     after it geared back up in November, PRC still hadn't produced

12     the product.    The product that Randall Davis says, "We can do in

13     a couple of weeks.     We can knock it right out."

14                 So the ruling is for Oelrich on its claim and against

15     PRC on its counter claim.      That's the ruling on liability.

16                 I need some time with damages.       I think a close

17     question is whether PRC is entitled to be paid for the product

18     it produced.    And that turns on whether it was feasible and

19     reasonable for Oelrich to do no more than Oelrich did to try to

20     get that product.

21                 I say it's close because Oelrich filed a replevin

22     action.    Somebody must have thought this product had value.           I

23     know it's difficult to match things, but we put people on the

24     moon in 1969 and got them home safely.

25                 I'm going to go back over the record and think harder
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1      about whether I credit the testimony on Oelrich's side that this

2      is just not feasible, or Mr. Davis' testimony, Mr. Randall

3      Davis' testimony, that this can be done, and is done, not

4      uncommonly in this field.

5                  A complicating factor is what to do with the

6      difficulty; for one thing, Mr. Butts makes a very good point in

7      rebuttal when he says, the logistics of this would be a

8      nightmare.    Somebody has to go look at it and get on there and

9      you got to figure out logistically how we are going to match

10     this.   That's a problem.     And aside from the logistics that

11     would attend an effort among cooperating individuals to get this

12     matched.    Oelrich certainly cannot rely on PRC to cooperate.

13                 Maybe with the right letter across the bow -- I don't

14     know that the letter needed to be different.         What needed to

15     happen was somebody needed to take the letter to Mr. Darr,

16     because Mr. Darr could have read some of these communications

17     and known what they said even if Forde Davis didn't.           And so

18     maybe, if it got to that, PRC would say, "I don't like it, but

19     we are off the job and we at least want to get value out of our

20     product."    Maybe not, but I do understand how Oelrich would be

21     concerned about whether they get that cooperation.

22                 So for me that's a difficult and close question, and I

23     am going to think more about it.        That affects the calculation

24     of damages quite substantially.       I got have a few little things

25     about how the damages are calculated.        I think I said during the
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1      argument, I don't think you get more profit on the additional

2      work.   I understand this didn't work out very well for either

3      side.   I am confident that both sides would have been better off

4      had they had not gotten this contract to begin with.           That's

5      what happens when things come off the rail and -- but Oelrich is

6      entitled to recover their properly calculated damages.

7                  There are some minor things in there when you start

8      taking a monthly salary and convert it into weeks you don't

9      divide by four, you divide by four and a third, and there are

10     things like that.     There are one or two of those items that

11     defense makes a good point maybe shouldn't be on there.           That's

12     all very minor.

13                 The major question on damages is what to do about that

14     product that's on the yard at PRC.

15                 We've tried this case.      I will get you a ruling.       I

16     think I told you before I know as much about the case as I am

17     ever going to know about it.       I hope I get this written ruling

18     out very, very promptly.      I am going to do my best.

19                 I am just like PRC, scheduling the work, or the

20     erector scheduling the work, this is not the only thing on the

21     list, but I hope it get to it right a way because otherwise it

22     takes more time than it should.

23                 I don't bang people's heads together and say, "You

24     ought to settle this case", and you've tried it and the side

25     doesn't like it -- both sides, if you don't like part of the
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1      ruling, you are entitled to appeal.        And we have tried to

2      preserve the record so you can do that.

3                  I will tell you two things about that: First, if there

4      is an appeal in the case the Eleventh Circuit has a pretty good

5      mediation program.     They will make you talk to each other as

6      part of that process.      I generally commend people to try to talk

7      to each other before you go through all of that because I am not

8      going to give away the lawyers' trade secrets, but briefs are

9      expensive.    So by the time they have written the brief you will

10     have invested more money in the case.        So you might, just as a

11     practical matter, now that you have heard that much of the

12     ruling, and when you get the rest of it, you might want to think

13     about where we stand and what makes sense.

14                 More importantly, the reason I bring it up, if I have

15     it right that product is still sitting on the yard up there.

16     The lawyers ought to talk to each other and decide what to do

17     with that product and quit taking up space and wasting effort.

18     You ought to at least be able to agree at this point there is no

19     reason to keep the product; let's get rid of it in the most

20     efficient way we can.

21                 I have given you a partial ruling, not the whole

22     thing.   Is there anything either side would like me to address

23     on the liability issue that I have not addressed?

24                 I guess I should say, I credited Mr. Oelrich's

25     testimony and Mr. Crehore's completely.         I thought they were
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1      both very candid and both testified very truthfully as best they

2      understood it.     Don't mean I agree with all of it, and as said,

3      I am still thinking about Mr. Oelrich's testimony that you

4      couldn't match this up, but that's a different question.              On

5      what he saw and heard I credit his testimony.          And I credit Mr.

6      Crehore's testimony.      I thought he was extraordinarily

7      straightforward.     Not argumentive.     Answered the questions very

8      much.

9                  Anything else you would like me to address before we

10     break?

11                 MR. BUTTS:    Your Honor, I don't know if it's

12     appropriate, but will the Court rule on who the prevailing party

13     is, or is that part of this decision?

14                 THE COURT:    I will rule on the merits of the case and

15     then one thing I do try to tell people when a verdict comes

16     back, and it applies to a bench trial as well, the time limits

17     that run from the entry of a judgment are among the most

18     stringent time limits known to the law.         So, the question

19     prevailing party goes to the fee requests.         There is a strict

20     time limit there.     Notice of appeal, there is a strict time

21     limit.   Don't miss any time limits.       Make sure you do all this.

22                 I appreciate the good effort on both sides.         I said

23     earlier, I think both sides did an excellent job of presenting

24     your positions.     I think I got the facts well-presented, so I

25     appreciate the good effort on both sides.
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1                  The local rule has a two part provision.        So after I

2      rule on the merits if it's a fee request you need to submit the

3      request for determination that you are a prevailing party.

4                  MR. BUTTS:    Thank you.

5                  THE COURT:    And let me tell you, also, you should go

6      ahead and do that, but my practice almost a hundred percent of

7      the time is when there is an appeal I don't determine amounts of

8      fees until the appeal is over.

9                  MR. BUTTS:    Your Honor --

10                 THE COURT:    Sometimes the appellate court doesn't

11     think I got it right.

12                 MR. BUTTS:    Do I understand correctly from your ruling

13     so far in the case that PRC's counterclaim is --

14                 THE COURT:    They lost.

15                 MR. BUTTS:    Pardon me?

16                 THE COURT:    They lost.

17                 MR. BUTTS:    Okay.   Thank you, Your Honor.

18                 Oh, I have one more question, please.

19                 About how much time do you think may lapse -- not

20     rushing you -- but before you determine the damages in the case

21     as it pertains to the part that you mentioned regarding the

22     panels?    I'm only asking that question in case there is an

23     opportunity for discussion among the attorneys.

24                 THE COURT:    It's a fair question.     I'm going to do it

25     as quickly as I can.      You have all had the same experience I
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1      have had.    I recall a judge telling me, "You will have a ruling

2      by the end of the month."      It was October and he did have a

3      ruling by the end of October, it was just the next year.              It

4      won't be that long.      I hope I get right to it.      So there is a

5      good chance I will do it this weekend, but I also have other

6      things, and I don't know what emergencies have come in this

7      morning, so do it quickly.

8                  And, look, I've got plenty to do, so if you talk to

9      each other and something is going to work out, somebody file

10     something and say, "give us a week" and I can put it back a

11     week.   If it gets much longer than the week I have to learn it

12     over again.    You know, it's like exams in college.        You how it

13     is, you get it and then it's gone.

14                 MR. BUTTS:    I understand.

15                 And do I understand correctly, Your Honor, the amount

16     of money that you are contemplating debating is the 109 that

17     Oelrich Construction paid, or is it a different amount of money?

18     I am just trying to understand the order of magnitude of the

19     money at issue.

20                 THE COURT:    I just unplugged my computer.      If it will

21     come back up.     Let me -- before I tell you let me look at my

22     note.

23                 If I say you failed to mitigate by not matching what

24     PRC had done -- so let's say I resolve that issue, and I am not

25     suggesting I will.     That's what has stopped me from making a
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1      ruling this morning.      I need to think about it -- if that's the

2      ruling, here is what I think you would get.

3                  Let's make one more assumption -- this, too, is maybe

4      not right -- but let's assume that the production at March 17

5      was 53 percent.     Then I think what you get might be this: you

6      might get the price paid to Spring Precast times 47 percent.

7      The precast they would have had to -- the product they would

8      have had to make.

9                  Now I understand that doesn't work because the

10     price -- some of that gets incurred to make the cast, and you

11     got to make the cast whether you are making twice as much

12     product.    I get it.    But maybe some change to deal with that,

13     but roughly the price paid to Spring times 47 percent, plus any

14     out-of-pocket expense incurred to enter that contract.           And I am

15     not sure the record has any of that.

16                 MR. BUTTS:    I don't believe it does.

17                 THE COURT:    You believe it does not?

18                 MR. BUTTS:    I do not believe that it does.

19                 THE COURT:    Maybe not the extra 6th or $7,000 to match

20     the rock, because PRC says, "We had the rock."          Subtract out

21     maybe the -- any unpaid amount to PRC for the work PRC actually

22     did.

23                 So, the assumption here, the hypothetical assumption

24     was PRC did the work and its product reusable, so PRC gets paid

25     for making the product it made.       So if some of that price is
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1      unpaid you got to pay for it.       And maybe reduced by the amount

2      that PRC is going to incur to get rid of the product because the

3      assumption here was the product should have gone down here to

4      the VA hospital.

5                  Probably without an adjustment for the cost PRC says

6      it incurred to store the product.        I would have to think about

7      that, but frankly that product should have been destroyed a long

8      time ago.    That's one of those the lawyers should have talked at

9      the beginning and said, "Okay, take some pictures and then

10     destroy the stuff", because the whole time the lawsuit has been

11     going everybody has known that product isn't ever going to be

12     used.   So that's rough.

13                 Now, on the other hand, if I decide that Oelrich

14     reasonably dealt with this, that it was too much of a hassle

15     that they weren't getting answer and they were fair to go to

16     Spring for the whole deal, then some of those deductions don't

17     come off and you don't multiply the Spring contract times

18     47 percent, and you do pay them the $6800, or whatever it was,

19     to go to Georgia and find rocks that work.         It's a big ticket

20     item.   And I'm going to think about it some more.

21                 So there you go.     If that's provides -- if that's

22     enough uncertainty to provide both sides a reason to talk to

23     each other --

24                 MR. BUTTS:    Thank you for sharing that with us.

25                 THE COURT:    -- talk to each other.
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                                                                             540


1                  All right.    Anything else?

2                  Thank you.    We're adjourned.

3           (Proceedings concluded at 12:53 on Wednesday, October 27,
       2021.)
4

5                                   * * * * * * * *

6                I certify that the foregoing is a correct transcript
       from the record of proceedings in the above-entitled matter.
7      Any redaction of personal data identifiers pursuant to the
       Judicial Conference Policy on Privacy are noted within the
8      transcript.

9

10     /s/ Lisa C. Snyder                               3/13/2022

11     Lisa C. Snyder, RPR, CRR                         Date
       Official U.S Court Reporter
12

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